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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 MARY ELLEN MORGAN, on behalf of   )
 herself and all others similarly situated,
                                   )
                                   ) Case No. 21-cv-00044
      Plaintiff,                   )
                                   )
 v.                                )
                                   )
 THE ALLSTATE CORPORATION; THE     )
 401(K) COMMITTEE OF THE ALLSTATE )
 401(K) SAVINGS PLAN; THE          )
 INVESTMENT COMMITTEE OF THE       )
 ALLSTATE 401(K) SAVINGS PLAN; THE )
 ADMINISTRATIVE COMMITTEE OF THE )
 ALLSTATE 401(K) SAVINGS PLAN; AND )
 DOES 1-30.                        ) CLASS ACTION
                                   )
      Defendants.                  )
                                   )

                           CLASS COMPLAINT FOR DAMAGES

 I.   INTRODUCTION

       1.      Plaintiff Mary Ellen Morgan brings this action under 29 U.S.C. §1132(a)(2) and (3)

individually on behalf of the Plan and two classes of participants and beneficiaries of the Allstate

401(k) Savings Plan (the “Plan”) for breach of fiduciary duty and prohibited transactions under

the Employee Retirement Income Security Act, 29 U.S.C. §§1001-1461 (“ERISA”). Plaintiff seeks

all damages from January 4, 2015 through the date of judgment (the “Class Period”) resulting from

Defendants’ breach of fiduciary duty and prohibited transactions, as well as any and all other

equitable or remedial relief for the Plan as the Court may deem appropriate.

       2.      Defendants, the Allstate Corporation, the 401(k) Committee of the Allstate 401(k)

Savings Plan and its members, the Investment Committee of the Allstate 401(k) Savings Plan, and

the Administrative Committee of the Allstate 401(k) Savings Plan, and its members (collectively,



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the “Allstate Defendants”) are fiduciaries to the Allstate 401(k) Savings Plan (the “Plan”). They

have the exclusive authority to select the Plan’s investment options. The Plan’s participants, who

are mostly current and former Allstate employees, can invest their retirement savings in any of the

funds that Allstate Defendants select for the Plan.

       3.      As fiduciaries, the Allstate Defendants must prudently curate the Plan’s investment

options. They must regularly monitor Plan investments and remove ones that become imprudent.

       4.      Throughout the Class Period, Allstate Defendants breached these fiduciary duties.

In 2011, and again in 2017, they loaded the plan with a suite of poorly performing funds called the

Northern Trust Focus Target Retirement Trusts (“Northern Trust Funds” or “the Funds”). Allstate

Defendants kept these Funds throughout the Class Period despite their continued

underperformance.

       5.      The Northern Trust Funds are “target date funds”—they are designed to achieve

certain investment results based on an investor’s anticipated retirement date (the “target date”).

Over the past decade, target date funds have become increasingly popular retirement savings

options. According to the Wall Street Journal, as of the end of 2016, target date funds held 21%

of all 401(k) assets in the United States. In 2018, at least $734 billion of retirement savings were

invested in target date funds. Given their popularity, retirement plan fiduciaries have hundreds of

different target date funds to choose from when selecting target date options for their plans.

       6.      From the start, the Allstate Defendants mishandled the process of picking the

Northern Trust Funds. Despite a market teeming with better-performing alternatives, Allstate

selected the Northern Trust Funds in 2011. At the time, the Northern Trust Funds were in their

nascent stage, with only a one-year investment track record, and a poor one at that.




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       7.      From 2011 through 2014, the time leading up to the start of the relevant Class

Period, the Northern Trust Funds significantly underperformed both their benchmark indexes and

comparable target date funds. Predictably, the Northern Trust Funds continued underperforming

from 2015 through the present. Throughout their first ten years in existence, virtually all of these

Northern Trust Funds performed in the 70th to 90th percentile—worse than 70 to 90 percent of

their peer funds.

       8.      Still, Allstate failed to remove the Funds. In fact, in 2017 Allstate actually added to

the Northern Trust Funds’ lineup. Allstate has even selected the Northern Trust Funds as the Plan’s

default investment option, meaning the Plan automatically invests participants’ retirement savings

in a Northern Trust Fund if the participant does not select another investment.

       9.      The Northern Trust Funds now collectively hold over $700 million in Plan assets.

       10.     Notably, the Northern Trust Funds are managed by Northern Trust Investments,

Inc., which is a wholly owned subsidiary of the Plan’s Trustee, the Northern Trust Corporation.

Accordingly, the Northern Trust Corporation derives two separate streams of income from the

Plan: (1) compensation for its services as Plan Trustee, and (2) fees associated with the Northern

Trust Funds.

       11.     Allstate’s imprudent decision to retain the Northern Trust Funds has had a large,

tangible impact on participants’ retirement accounts. Based on an analysis of data compiled by

Morningstar, Inc.1, the Plan has lost upwards of $70 million in retirement savings since 2015

because of Allstate’s decision to retain the Northern Trust Funds instead of removing them.


1
 Morningstar, Inc. is a leading provider of independent investment research products (e.g., data
and research insights on managed investment products, publicly listed companies, and private
capital markets) for individual investors, financial advisors, asset managers, retirement plan
providers and sponsors, and institutional investors in the private capital markets in North America,
Europe, Australia, and Asia.



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       12.     The Northern Trust Funds have also impaired the Plan’s overall performance.

According to Brightscope2, the average Plan participant may earn $98,193 less in retirement

savings than employees in top-rated retirement plans of a similar size. The $98,193 loss translates

to an additional twelve (12) years of work per participant.

       13.     In addition, as fiduciaries to the Plan, Allstate arranged for two outside investment

advisers—Financial Engines and Alight Financial Advisors—to provide investment advice

directly to Plan participants for a fee. In doing so, Allstate Defendants are obligated to act for the

exclusive benefit of the Plan’s participants and beneficiaries, to assure that Plan expenses are

reasonable, and to ensure Plan’s investments are prudent.

       14.     Instead, Allstate neglected these sacrosanct duties. It allowed participants to pay

unreasonably high fees to the Plan’s “investment advisers,” first Financial Engines and later Alight

Financial Advisors. It also constructed a plan with far too many layers of fees and turned a blind

eye to a kickback scheme between Financial Engines and the Plan recordkeeper Aon Hewitt.

       15.     Plaintiff does not have knowledge of all material facts (including, but not limited

to, comparisons of the Plan’s investment performance relative to other available investment

alternatives) necessary to understand that the Allstate Defendants breached their fiduciary duties

and engaged in other unlawful conduct in violation of ERISA until shortly before filing this

Complaint. Further, Plaintiff does not have actual knowledge of the specifics of the Allstate

Defendants’ decision-making processes with respect to the Plan, including the Allstate

Defendants’ processes for monitoring and removing Plan investments, because this information is




2
  Brightscope is a leading financial information and technology company that prepares retirement
plan ratings and investment analytics to participants, plan sponsors and asset managers in all 50
states. Plaintiffs accessed this data from Brightscope’s website on July 3, 2019.


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solely within the possession of the Allstate Defendants prior to discovery. For purposes of this

Complaint, Plaintiff has drawn reasonable inferences regarding these processes based upon inter

alia the facts set forth herein.

II.     PARTIES

      A. Plaintiff

         16.    Mary Ellen Morgan was a participant in the Plan during the Class Period. During

the Class Period, Plaintiff Morgan suffered harm by investing in the Northern Trust 2015 Focus

Fund and the Northern Trust 2020 Focus Fund.

      B. Defendants

         17.    The Allstate Corp., a Delaware corporation headquartered in Northbrook, Illinois,

is one of the largest insurance companies in the United States. It is the Plan’s sponsor and one of

the Plan’s fiduciaries.

         18.    The 401(k) Committee of the Allstate 401(k) Savings Plan (the “401(k)

Committee”) is responsible for appointing and monitoring the Investment Committee and the

Administrative Committee of the Allstate 401(k) Savings Plan and its members. Current and

former members of the 401(k) Committee are fiduciaries of the Plan under 29 U.S.C. §

1002(21)(A) because they exercised discretionary authority or discretionary control over the

management of the Plan.

         19.     The Investment Committee of the Allstate 401(k) Savings Plan (“Investment

Committee) is responsible for selecting and monitoring the investment options available on the

Plan. The Investment Committee has the sole right under the Plan to choose investment managers

and to delegate to any such investment manager the power and authority to manage plan assets.

Current and former members of the Investment Committee are fiduciaries of the Plan under 29




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U.S.C. § 1002(21)(A) because they exercised discretionary authority or discretionary control

respecting management of the Plan.

         20.   The Administrative Committee administers the Plan. The Administrative

Committee has the discretion to establish and carry out all the rules necessary to operate the Plan

and make decisions regarding the interpretation and application of Plan provisions, including the

discretions to make factual determinations and remedy any ambiguities, inconsistencies, or

omissions.

         21.   Because Plaintiff is currently unaware of the identities of the individual members

of the 401(k) Committee, the Investment Committee, and the Administrative Committee those

individuals are collectively named as Defendants Does 1-30. Plaintiff will substitute the real names

of the Does when they become known to Plaintiff. To the extent the 401(k) Committee or the

Investment Committee delegated any of its fiduciary functions to another person or entity, the

nature and extent of which has not been disclosed to Plaintiff, the person or entity to which the

function was delegated is also a fiduciary under 29 U.S.C. § 1002(21)(A), and also alleged to be a

Doe Defendant.

 III.   JURISDICTION AND VENUE

         22.   This Court has exclusive jurisdiction over the subject matter of this action under 29

U.S.C. § 1132(e)(1) and 28 U.S.C. § 1331 because it is an action under 29 U.S.C. § 1132(a)(2) and

(3).

         23.   This District and Division are the proper venue for this action under 29 U.S.C.

§1132(e)(2) and 28 U.S.C. § 1391(b) because they are the District and Division in which the

subject Plan is administered and where at least one of the alleged breaches took place. They are

also the District and Division in which Defendant Allstate Corp. resides.




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 IV.    ERISA’S FIDUCIARY STANDARDS

   A. Fiduciary Duties of Prudence and Loyalty

        24.    ERISA imposes strict fiduciary duties of prudence and loyalty upon the Allstate

Defendants as fiduciaries of the Plan. 29 U.S.C. § 1104(a). These duties apply to all fiduciary acts,

including the Allstate Defendants’ retention of investment options for the Plan.

        25.    ERISA’s duty of prudence requires fiduciaries to discharge their responsibilities

“with the care, skill, prudence, and diligence” that a prudent person “acting in a like capacity and

familiar with such matters would use.” 29 U.S.C. §1104(a)(1)(B). Accordingly, fiduciaries must

vigorously and independently investigate each of the Plan’s investment option with the skill of a

prudent investor.

        26.    As part of its fiduciary duty, Allstate “has a continuing duty to monitor [Plan]

investments and remove imprudent ones” that exists “separate and apart from the [fiduciary’s]

duty to exercise prudence in selecting investments.” Tibble v. Edison Int’l, 135 S. Ct. 1823, 1828

(2015). If an investment is imprudent, Allstate “must dispose of it within a reasonable time.” Id.

at 1829. (citation omitted).

        27.    ERISA also prohibits certain transactions between the Plan and any party in

interest. 29 U.S.C. § 1106. Engaging in any of these prohibited transactions constitutes a per se

violation of ERISA. 29 U.S.C. §1106(a)(1) states:

        [A] fiduciary with respect to a plan shall not cause the plan to engage in a transaction, if he
        knows or should know that such transaction constitutes a direct or indirect –

               (A) sale or exchange, or leasing, of any property between the plan and a party in
               interest;

               (B) lending of money or other extension of credit between the plan and a party in
               interest;

               (C) furnishing of goods, services, or facilities between the plan and party in interest;



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                 (D) transfer to, or use by or for the benefit of a party in interest, of any assets of the
                 plan; or

                 (E) acquisition, on behalf of the plan, of any employer security or employer real
                 property in violation of section 1107(a) of this title.

       28.       A party in interest includes, in relevant part, any plan fiduciary, including the plan

administrator, trustee, officer or custodian, any plan services provider, the employer, a relative of

any of the above, and certain persons with ownership or leadership roles in any of the above. 29

U.S.C. § 1002(14).

   B. Fiduciary Liability Under ERISA

       29.       Under 29 U.S.C. § 1109, fiduciaries to the Plan are personally liable to make good

to the Plan any harm caused by their breaches of fiduciary duty. Section 1109(a) provides in

relevant part:

    Any person who is a fiduciary with respect to a plan who breaches any of the responsibilities,
    obligations, or duties imposed upon fiduciaries by this subchapter shall be personally liable
    to make good to such plan any losses to the plan resulting from each such breach, and to
    restore to such plan any profits of such fiduciary which have been made through use of assets
    of the plan by the fiduciary, and shall be subject to such other equitable or remedial relief as
    the court may deem appropriate, including removal of such fiduciary.

   C. Co-Fiduciary Liability

       30.       ERISA provides for co-fiduciary liability where a fiduciary knowingly participates

in, or knowingly fails to cure, a breach by another fiduciary. Specifically, under 29 U.S.C. §

1105(a), a fiduciary shall be liable for a breach of fiduciary duty by a co-fiduciary if:

       (1) he participates knowingly in, or knowingly undertakes to conceal, an act or omission
       of such other fiduciary, knowing such act or omission is a breach; [or]

       (2) by his failure to comply with [29 U.S.C. § 1104(a)(1)] in the administration of his
       specific responsibilities which give rise to his status as a fiduciary, he has enabled such
       other fiduciary to commit a breach; or

       (3) he has knowledge of a breach by such other fiduciary, unless he makes reasonable
       efforts under the circumstances to remedy the breach.



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        31.    Each of the Allstate Defendants is subject to co-fiduciary liability under 29 U.S.C.

§ 1105(a)(1)–(3) because they enabled other fiduciaries to commit breaches of fiduciary duties

through their appointment powers, failed to comply with 29 U.S.C. § 1104(a)(1) in the

administration of their duties, and failed to remedy other fiduciaries’ breaches of their duties,

despite having knowledge of the breaches.

  V.    THE PLAN

        32.    The Plan consists of a profit-sharing and stock bonus plan that includes a “qualified

cash or deferred arrangement” as described in Section 401(k) of the Internal Revenue Code, I.R.C.

§ 401(k) (1986) (hereinafter denoted as “the Code”) and is subject to the provisions of ERISA.

The Plan is established and maintained under a written document as required by 29 U.S.C. §

1102(a). Allstate is the sponsor of the Plan. The Retirement Plan Committee is the Plan

Administrator. The Northern Trust Company serves as the Plan’s trustee and as the custodian of

the Plan’s assets.

        33.    The Plan provides for retirement income for over 44,000 participants, comprised of

Allstate employees, former employees, and their beneficiaries. A participant’s retirement account

balance primarily depends on contributions made by each employee, Allstate’s matching

contributions, and the performance of investment options net of fees and expenses. The Allstate

Defendants exclusively control the selection and retention of the Plan’s investment options.

        34.    The Plan has approximately $6 billion in assets under management. The Plan’s

assets include a unitized funds that invests in Allstate stock, commingled investment vehicles (e.g.,

collective investment trusts), and insurance contracts.




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         35.   Based on publicly available Plan documents, Plan participants had invested over

$700 million in the Northern Trust Funds as of December 31, 2019. In 2019, the Plan identified

the following Northern Trust Funds along with the amount of Plan assets invested in each fund:

                       Plan Option                          Value

               Northern Trust Focus 2010 Fund              $5,548,990

               Northern Trust Focus 2015 Fund              $21,517,548

               Northern Trust Focus 2020 Fund              $101,182,290

               Northern Trust Focus 2025 Fund              $145,734,031

               Northern Trust Focus 2030 Fund              $125,960,360

               Northern Trust Focus 2035 Fund              $98,270,534

               Northern Trust Focus 2040 Fund              $80,949,237

               Northern Trust Focus 2045 Fund              $63,179,898

               Northern Trust Focus 2050 Fund              $47,595,153

               Northern Trust Focus 2055 Fund              $50,074,951

               Northern Trust Focus 2060 Fund              $4,887,190

         36.   With approximately $6 billion in assets, the Plan has tremendous leverage to

demand and receive superior investment products and services. Unfortunately, Allstate did not

effectively use that leverage to identify and select prudent target date options for Plan participants.

 VI.      ALLSTATE’S BREACHES OF FIDUCIARY DUTY

   A. Allstate Imprudently Retained Poorly Performing Northern Trust Target Date
      Funds

         37.   As Plan fiduciary, Allstate was responsible for monitoring the Plan’s investment

options. Allstate failed to prudently perform this function. Allstate selected and then retained a

suite of target date funds—the Northern Trust Funds—that suffered chronic poor performance.




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Allstate failed to remove the Funds from the Plan despite abysmal investment performance that

spans a decade.

         38.     Allstate began offering the Northern Trust Funds to Plan participants in 2011.

During the Class Period, the Northern Trust Funds have had target retirement dates ranging from

2010 to 2060.3 The Funds are the only target date options on the Plan. Participants who want to

invest in a target date strategy have no choices other than the Northern Trust Funds.

         39.     Allstate also selected the Northern Trust Funds as the Plan’s default investment

options. If participants do not make investment fund elections, the Plan automatically invests their

contributions, along with any matching contributions and/or earnings, in one of the Northern Trust

Funds based on their age.

         40.     Retirement plan fiduciaries, like Allstate, typically offer target date options through

a suite of funds bundled by a single investment adviser (here, Northern Trust). Since Allstate offers

the Funds collectively as a suite, Allstate uses the same selection and monitoring process for each

of the Northern Trust Funds.

         41.     Allstate’s selection and monitoring process for the Northern Trust Funds has been

deficient. When Allstate added the Northern Trust Funds to the Plan in 2011, they were untested

and lacked a significant track record. In fact, the Northern Trust Funds’ one-year track record that

existed at the time was not promising.

         42.     Without the benefit of an adequate track record, Allstate could not have undertaken

a rigorous fiduciary analysis from which to formulate a reasonable expectation of future returns or

the Funds’ adherence to the Plan’s investment objectives and policies. Any prudent fiduciary that

followed a rigorous process would have compared the untested Northern Trust Funds with better


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    Allstate added the Northern Trust Focus 2060 Fund to the Plan sometime in 2017.


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performing and more established investment options available on the market. For instance,

Vanguard, Fidelity, and T. Rowe Price all offered target retirement date investment strategies with

significantly better and more established track records than the untested Northern Trust Funds.

Instead, Allstate chose to gamble blindly with participants’ money in the hopes that Northern Trust

would deliver.

       43.       Allstate’s decision to select the Northern Trust Funds netted $250 million in

investments from participants in 2011. Unfortunately, the decision also saddled participants’

retirement accounts with bad investment performance. From 2011 through 2014, the first four

years that the Plan offered the Northern Trust Funds, the Northern Trust Funds’ poor performance

cost the Plan and its participants over $25 million in lost retirement savings.

       44.       Predictably, from 2015 to the present, the relative investment performance of each

of the Northern Trust Funds has continued their downward spiral.

       45.       The Northern Trust Funds consistently underperformed the Morgan Stanley All

Country World Investable Market Index (MSCI ACWI IMI Index), a broad-based, all equity index

that Allstate identifies as the benchmark for these funds.4 The Northern Trust Funds also

underperformed other broad-based indexes, including Standard & Poor’s Target Date Index and




4
   Northern Trust also utilizes a custom Northern Trust benchmark that it maintains. However, the
DOL rejects the use of custom benchmarks on the grounds that investment performance
information could fall prey to “manipulation” and misleading presentations by a fund’s investment
adviser, underwriter or affiliate. To avoid manipulation, the DOL mandated that a benchmark
should be a “broad-based securities market index,” and that it may not be administered by an
affiliate of the investment issuer, its investment adviser, or a principal underwriter, unless it is
widely recognized and used. 29 C.F.R. § 2550.404a-5. Also see Fiduciary Requirements for
Disclosure in Participant-Directed Individual Account Plans, 75 Fed. Reg. 64,910, 64,916–64,917
(Oct. 20, 2010). As the Northern Trust custom benchmark is not widely recognized and used,
Plaintiffs do not reference the Northern Trust custom benchmark.



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the Morningstar Lifetime Moderate Index, a measurement which Morningstar uses as the primary

investment benchmark for each of the Northern Trust Funds.

       46.     Morningstar classifies the Northern Trust Funds within the same Morningstar

Category as the target date funds offered by Fidelity, T. Rowe Price, and Vanguard (collectively,

the “Comparator Funds”). Each investment adviser for the Comparators Funds is an industry leader

capable of providing target date strategies to large 401(k) plans like the Allstate Plan.

       47.     The Northern Trust Funds have an abysmal record of underperformance relative to

funds identified by Morningstar as comparable target date funds. The Northern Trust Funds occupy

the bottom rung of their respective Morningstar Categories. Specifically, virtually all these

Northern Trust Funds performed worse than between 70% and 90% of their peer funds over the

preceding five (5) and ten (10) years. In fact, in the last ten (10) years, the Northern Trust Focus

2055 Fund performed worse than 100% of all the funds in its Morningstar category.

       48.     Still, Allstate has failed to remove the Northern Trust Funds from the Plan. In 2017,

Allstate even added the Northern Trust 2060 Fund to the Plan’s mix. A reasonable investigation

by the Allstate Defendants would have revealed the Funds’ chronic underperformance and

prompted Allstate to remove and replace them with superior options. The overall breadth and depth

of the Northern Trust Funds’ underperformance raises a plausible inference that Allstate’s

selection and monitoring process was tainted by a failure of competency or effort.

       49.     In the Tables 1.a – 10a below, Plaintiff demonstrates the underperformance of the

ten Northern Trust Funds compared to the MSCI ACWI IMI Index, the S&P Target Date Index,

the Morningstar Lifetime Moderate Index, and the Comparator Funds from January 1, 2011

through December 31, 2014. In Tables 1.b – 10.b below, Plaintiff demonstrates the

underperformance of the ten Northern Trust Funds compared to the same Comparator Funds on




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both an annualized and cumulative basis for the period January 1, 2015 through November 30,

2020. In Tables 1.c – 10.c below, Plaintiff demonstrates the monetary impact of this

underperformance by showing growth of a monetary investment in the Northern Trust Funds

versus the growth of the same monetary investment in the Comparator Funds from January 1, 2015

through November 30, 2020. The data presented each of the Tables below was available to the

Allstate Defendants throughout the Class Period in real-time.

       50.     The Comparator Funds listed in each of the Tables below (Fidelity, T. Rowe Price,

and Vanguard) pursue the same investment objectives as the Northern Trust Funds, are managed

by well-known investment advisers, and are available to all large retirement plans. Allstate would

not have had to scour the market to find them. On the contrary, the Northern Trust Funds’

performance was so bad that Allstate would likely have had to scour the market to find offerings

as poor-performing as the Northern Trust Funds.

       51.     By selecting the Northern Trust Funds and then failing to remove them from the

Plan, Allstate breached its fiduciary duty of prudence under ERISA. Allstate’s decisions have had

a profound and lasting effect on the Plan. Plan participants have lost upwards of $70 million in

retirement savings since 2014.

                a.    Northern Trust Focus 2010 Fund

       52.     The Plan has suffered from Northern Trust Focus 2010 Fund’s abysmal

underperformance since its introduction to the Plan. Table 1.a illustrates four-years of

underperformance from inception leading up to the Class Period, relative to benchmark indexes

and Comparator Funds.




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                                            Table 1.a
                              January 1, 2011 – December 31, 2014


Investment                                    Cumulative Return             Annualized Return
NT Focus 2010 Fund - Tier W                          26.53%                         6.06%

FIAM Blend Target Date 2010 S                        31.74%                         7.13%

T. Rowe Price Ret Hybrid 2010 Tr-T1                  32.88%                         7.37%

Vanguard Target Retirement 2010 Trust I              N/A5                           N/A

Morningstar Lifetime Mod 2010                         31.07%                        7.00%

S&P Target Date 2010                                 28.52%                         6.47%

       53.     Any prudent fiduciary would have used the indexes and Comparator Funds listed

in Table 1.a as benchmarks for the performance of the Northern Trust Focus 2010 Fund.

Morningstar assigns the Morningstar Lifetime Moderate 2010 Index as the primary investment

benchmark for the Northern Trust Focus 2010 Fund. Morningstar also places the Northern Trust

Focus 2010 Fund in its Target Date 2010 Morningstar Category along with the Comparator Funds

managed by Fidelity (“FIAM”), T. Rowe Price and Vanguard.

       54.     Despite four-years of substantial underperformance, the Allstate Defendants did not

remove the Northern Trust Focus 2010 Fund from the Plan. Predictably, the underperformance

continued throughout the Class Period.



5
   Although Vanguard offered the Vanguard Target Retirement 2010 Trust as a collective
investment trust to 401(k) plans, Vanguard discontinued its target date 2010 strategy in 2017, as
its asset allocation became substantially identical to the Target Retirement Income Fund. Plaintiffs
could not access Morningstar archived performance data for the Vanguard Target Retirement 2010
Trust.


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         55.      Table 1.b illustrates the underperformance of the Northern Trust Focus 2010 Fund

  from January 1, 2015 through November 30, 2020 on an annualized basis relative to Comparator

  Funds and benchmark indexes. Furthermore, the differences in annual performance are even more

  pronounced when viewed on a cumulative basis compounded over time. Thus, as Table 1.b

  demonstrates, the Northern Trust Focus 2010 Fund significantly underperformed the benchmark

  indexes and Comparator Funds on a cumulative basis.

                                              Table 1.b

                                                                                      Cumulative
                                         Annualized Performance                      Compounded
      Fund
                                                                                     Performance
                       2015       2016      2017         2018     2019      2020
Northern Trust
Focus 2010 Fund       -0.49%     5.26%      9.24%       -3.01%   14.42%    9.04%         38.46%
W

FIAM Blend
Target Date 2010      -0.37%     6.77%     11.70%       -3.04%   14.84%    8.51%         43.59%
S
+/- Northern Trust    -0.12%    -1.51%     -2.46%       +0.03%   -0.42%    +0.53%        -5.13%

T. Rowe Price Ret
Hybrid 2010 Tr-       -0.41%     6.78%     12.12%       -3.54%   15.71%    10.04%        46.42%
T1
+/- Northern Trust    -0.08%    -1.52%     -2.88%       +0.53%   -1.29%    -1.00%        -7.96%

Morningstar
Lifetime Mod          -1.58%     6.64%     10.19%       -2.97%   14.93%    9.41%         41.12%
2010
+/- Northern Trust    +1.09%    -1.38%     -0.95%       -0.04%   -0.51%    -0.37%        -2.66%

S&P Target Date
                      -0.21%     5.82%      9.95%       -3.10%   14.30%    7.93%         38.78%
2010
+/- Northern Trust    -0.28%    -0.56%     -0.71%       +0.09%   +0.12%    +1.11%        -0.32%




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                              January 1, 2015 – November 30, 2020

       56.     Put in a broader context, according to Morningstar, as of November 30, 2020,

within the Target Date 2010 Morningstar Category, the Northern Trust Focus 2010 Fund

performed worse than 72% of all funds over the preceding 10-year period and worse than 57% of

all funds over the preceding 5-year period. In those periods, there have been between 52 and 75

funds in the Target Date 2010 Morningstar Category.

       57.     During the Class Period, the assets of the Northern Trust Focus 2010 Fund averaged

approximately $9 million. Table 1.c demonstrates the financial significance of this

underperformance by showing the growth of $9 million invested in the Northern Trust Focus 2010

Fund as compared to the growth of $9 million invested in each of the Comparator Funds from

January 1, 2015 through November 30, 2020. As Table 1.c makes clear, Allstate’s failure to

replace the Northern Trust Focus 2010 Fund with one of these Comparator Funds by the end of

2014 resulted in the Plan losing between $.4 million and $.6 million in retirement savings.

                                            Table 1.c

                             January 1, 2015 – November 30, 2020

  Fund Name                  Compounded          Annualized         Growth of $9 Million
                             Performance         Performance
  Northern Trust Focus
                             38.46%              5.65%              $12.4 million
  2010 Fund W

  FIAM Blend Target
  Date 2010 S                43.59%              6.31%              $12.9 million

  +/- Northern Trust         -5.13%              -0.66%             -$0.5 million

  T. Rowe Price Ret
                             46.42%              6.66%              $13.1 million
  Hybrid 2010 Tr-T1
  +/- Northern Trust         -7.96%              -1.01%             -$0.7 million




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             b.   Northern Trust Focus 2015 Fund

       58.        The Plan has suffered from Northern Trust Focus 2015 Fund’s abysmal

underperformance since its introduction to the Plan. Table 2.a illustrates four-years of

underperformance from inception leading up to the Class Period, relative to benchmark indexes

and Comparator Funds.

                                            Table 2.a
                               January 1, 2011 – December 31, 2014


Investment                                    Cumulative Return           Annualized Return
NT Focus 2015 Fund - Tier W                          28.42%                      6.45%

FIAM Blend Target Date 2015 S                        33.52%                      7.50%

T. Rowe Price Ret Hybrid 2015 Tr-T1                  37.97%                      8.38%

Vanguard Target Retirement 2015 Trust I              36.78%                      8.15%

Morningstar Lifetime Mod 2015                        33.81%                      7.5%

S&P Target Date 2015                                 32.53%                      7.29%

       59.        Any prudent fiduciary would have used the indexes and Comparator Funds listed

in Table 2.a as benchmarks for the performance of the Northern Trust Focus 2015 Fund.

Morningstar assigns the Morningstar Lifetime Moderate 2015 Index as the primary investment

benchmark for the Northern Trust Focus 2015 Fund. Morningstar also places the Northern Trust

Focus 2015 Fund in its Target Date 2015 Morningstar Category along with the Comparator Funds

managed by Fidelity (“FIAM”), T. Rowe Price and Vanguard.




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       60.    Despite four-years of substantial underperformance, the Allstate Defendants did not

remove the Northern Trust Focus 2015 Fund from the Plan. Predictably, the underperformance

continued throughout the Class Period.

       61.      Table 2.b illustrates the underperformance of the Northern Trust Focus 2015 Fund

from January 1, 2015 through November 30, 2020 on an annualized basis relative to Comparator

Funds and benchmark indexes. Furthermore, the differences in annual performance are even more

pronounced when viewed on a cumulative basis compounded over time. Thus, as Table 2.b

demonstrates, the Northern Trust Focus 2015 Fund significantly underperformed the benchmark

indexes and Comparator Funds on a cumulative basis.

                                             Table 2.b

                             January 1, 2015 – November 30, 2020

                                                                                         Cumulative
                                            Annualized Performance                      Compounded
         Fund
                                                                                        Performance
                          2015       2016       2017      2018       2019      2020
   Northern Trust
   Focus 2015 Fund       -0.87%     5.46%      9.74%     -3.21%    14.76%     9.26%         39.22%
   W

   FIAM Blend
   Target Date 2015       0.00%     7.27%      13.55%    -4.02%    17.06%     9.38%         49.69%
   S
   +/- Northern Trust    -0.87%     -1.81%     -3.81%    +0.81%    -2.30%     -0.12%       -10.47%

   T. Rowe Price Ret
   Hybrid 2015 Tr-       -0.36%     7.39%      13.95%    -3.99%    17.34%     10.38%        51.63%
   T1
   +/- Northern Trust    -0.51%     -1.93%     -4.21%    +0.78%    -2.58%     -1.12%       -12.41%

   Vanguard Target
   Retirement 2015       -0.39%     6.28%      11.56%    -2.94%    14.91%     8.31%         42.67%
   Trust 1
   +/- Northern Trust    -0.48%     -0.82%     -1.82%    -0.27%    -0.15%    +0.95%         -3.45%




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   Morningstar
   Lifetime Mod          -1.73%     7.10%      11.39%    -3.54%     16.29%    10.13%            44.84%
   2015
   +/- Northern Trust    +0.86%     -1.64%     -1.65%    +0.33%     -1.53%     -0.87%           -5.62%

   S&P Target Date
                         -0.16%     6.56%      11.39%    -3.67%     15.40%     7.99%            42.26%
   2015
   +/- Northern Trust    -0.71%     -1.10%     -1.65%    +0.46%     -0.64%    +1.27%            -3.04%



       62.     Put in a broader context, according to Morningstar, as of November 30, 2020,

within the Target Date 2015 Morningstar Category, the Northern Trust Focus 2015 Fund

performed worse than 93% of all funds over the preceding 10-year period and worse than 86% of

all funds over the preceding 5-year period. In those periods, there have been between 44 and 72

funds in the Target Date 2015 Morningstar Category.

       63.     During the Class Period, the assets of the Northern Trust Focus 2015 Fund averaged

approximately $30 million. Table 2.c demonstrates the financial significance of this

underperformance by showing the growth of $30 million invested in the Northern Trust Focus

2015 Fund as compared to the growth of $30 million invested in each of the Comparator Funds

from January 1, 2015 through November 30, 2020. As Table 2.c makes clear, Allstate’s failure to

replace the Northern Trust Focus 2015 Fund with one of these Comparator Funds by the end of

2014 resulted in the Plan losing between $1.1 million and $3.4 million in retirement savings.

                                             Table 2.c

                             January 1, 2015 – November 30, 2020

  Fund Name                  Compounded          Annualized        Growth of $30 Million
                             Performance         Performance
  Northern Trust Focus
                             39.22%              5.75%             $41.7 million
  2015 Fund W

  FIAM Blend Target
                             49.69%              7.06%             $44.9 million
  Date 2015 S


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  +/- Northern Trust        -10.47%             -1.31%            -$3.2 million

  T. Rowe Price Ret
                            51.63%              7.29%             $45.1 million
  Hybrid 2015 Tr-T1
  +/- Northern Trust        -12.41%             -1.54%            -$3.4 million

  Vanguard Target
                            42.67%              6.19%             $42.8 million
  Retirement 2015 Trust 1
  +/- Northern Trust        -3.45%              -0.44%            -$1.1 million



             c. Northern Trust Focus 2020 Fund

       64.      The Plan suffered from Northern Trust Focus 2020 Fund’s abysmal

underperformance since its introduction to the Plan. Table 3.a demonstrates that this Fund

experienced four-years of underperformance leading up to the Class Period, relative to benchmark

indexes and Comparator Funds.

                                           Table 3.a
                             January 1, 2011- December 31, 2014


Investment                                  Cumulative Return %          Annualized Return %
NT Focus 2020 Fund - Tier W                        30.10%                         6.80%

FIAM Blend Target Date 2020 S                      35.56%                         7.90%

T. Rowe Price Ret Hybrid 2020 Tr-T1                41.31%                         9.03%

Vanguard Target Retirement 2020 Trust I            40.67%                         8.91%

Morningstar Lifetime Mod 2020                      36.95%                         8.18%

S&P Target Date 2020                               35.96%                         7.98%

MSCI ACWI IMI                                      37.53%                         8.29%




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       65.    Any prudent fiduciary would have used the indexes and Comparator Funds listed

in Table 3.a as benchmarks for the performance of the Northern Trust Focus 2020 Fund. The Plan

identifies the MSCI ACWI IMI as the benchmark index for the Northern Trust Focus 2020 Fund.

Furthermore, Morningstar assigns the Morningstar Lifetime Moderate 2020 Index as the primary

investment benchmark for the Northern Trust Focus 2020 Fund. Morningstar also places the

Northern Trust Focus 2020 Fund in its Target Date 2020 Morningstar Category along with the

Comparator Funds managed by Fidelity (“FIAM”), T. Rowe Price and Vanguard.

       66.    Despite four-years of substantial underperformance, the Allstate Defendants did not

remove the Northern Trust Focus 2020 Fund from the Plan. Predictably, the Fund continued

underperforming throughout the Class Period.

       67.    Table 3.b illustrates the underperformance of the Northern Trust Focus 2020 Fund

from January 1, 2015 through November 30, 2020 on an annualized basis relative to Comparator

Funds and benchmark indexes. Furthermore, the differences in annual performance are even

pronounced when compounded over time. Thus, Table 3.b demonstrates, the Northern Trust Focus

2020 Fund significantly underperformed the benchmark indexes and Comparator Funds on a

cumulative basis.

                                           Table 3.b

                            January 1, 2015 – November 30, 2020

                                                                                           Cumulative
                                           Annualized Performance                         Compounded
         Fund
                                                                                          Performance
                         2015       2016        2017      2018        2019       2020
   Northern Trust
   Focus 2020 Fund      -1.27%     5.76%       10.71%    -3.64%     15.52%      9.17%     40.48%
   W

   FIAM Blend
                        -0.22%     7.54%       14.82%    -4.76%     18.84%     10.24%     53.73%
   Target Date 2020


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   S
   +/- Northern Trust    -1.05%    -1.78%     -4.11%    +1.12%      -3.32%     -1.07%    -13.25%

   T. Rowe Price Ret
   Hybrid 2020 Tr-       -0.42%     7.99%     16.07%     -4.71%     19.35%     10.52%    56.88%
   T1
   +/- Northern Trust    -0.85%    -2.23%     -5.36%    +1.07%      -3.83%     -1.35%    -16.4%

   Vanguard Target
   Retirement 2020       -0.55%     7.03%     14.18%     -4.18%     17.73%     9.27%     49.81%
   Trust 1
   +/- Northern Trust   -0.72%     -1.27%     -3.47%    +0.54%      -2.21%     -0.10%    -9.33%

   Morningstar
   Lifetime Mod         -1.88%      7.66%     12.79%     -4.16%     17.73%     10.54%    48.60%
   2020
   +/- Northern Trust   +0.61%     -1.90%     -2.08%    +0.52%      -2.21%     -1.37%    -8.12%

   S&P Target Date
                        -0.19%      7.22%     12.80%     -4.16%     16.52%     7.79%     45.31%
   2020
   +/- Northern Trust   -1.08%     -1.46%     -2.09%    +0.52%      -1.00%     +1.38%    -4.83%

   MSCI ACWI IMI        -2.19%      8.36%     23.95%    -10.08%     26.35%     10.75%    65.30%
   +/- Northern Trust                                                                    -24.82%
                        +0.92%     -2.60%    -13.24%    +6.44%     -10.83%     -1.58%

       68.    Put in a broader context, according to Morningstar, as of November 30, 2020,

within the Target Date 2020 Morningstar Category, the Northern Trust Focus 2020 Fund

performed worse than 81% of all funds over the preceding 10-year period and worse than 79% of

all funds over the preceding 5-year period. In those periods, there have been between 72 and 117

funds in the Target Date 2020 Morningstar Category.

       69.    During the Class Period, the assets of the Northern Trust Focus 2020 Fund averaged

approximately $115 million. Table 3.c shows the projected growth of $115 million invested in the

Northern Trust Focus 2020 Fund and each of the comparator funds from January 1, 2015 through

November 30, 2020. As Table 3.c makes clear, Allstate’s failure to replace the Northern Trust




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Focus 2020 Fund with one of these Comparator Funds at the end of 2014 resulted in the Plan losing

between $10.7 million and $17.7 million in retirement savings.

                                           Table 3.c

                             January 1, 2015 – November 30, 2020


  Fund Name                  Compounded         Annualized         Growth      of      $115
                             Performance        Performance        Million
  Northern Trust Focus
                             40.48%             5.91%              $161.5 million
  2020 Fund W

  FIAM Blend Target
                             53.73%             7.54%
  Date 2020 S                                                      $176.7 million
  +/- Northern Trust         -13.25%            -1.63%             -$15.2 million

  T. Rowe Price Ret
                             56.88%             7.91%
  Hybrid 2020 Tr-T1                                                $179.2 million
  +/- Northern Trust         -16.40%            -2.00%             -$17.7 million

  Vanguard Target
                             49.81%             7.07%              $172.2 million
  Retirement 2020 Trust 1
  +/- Northern Trust         -9.33%             -1.16%             -$10.7 million

             d. Northern Trust Focus 2025 Fund

       70.      The Northern Trust Focus 2025 Fund’s abysmal underperformance dates to its

inception. Table 4.a demonstrates this Fund experienced four-years of underperformance leading

up to the Class Period, relative to benchmark indexes and Comparator Funds.

                                           Table 4.a
                              January 1, 2011- December 31, 2014


Investment                                  Cumulative Return %           Annualized Return %
NT Focus 2025 Fund - Tier W                         31.78%                          7.14%

FIAM Blend Target Date 2025 S                       40.15%                          8.81%

T. Rowe Price Ret Hybrid 2025 Tr-T1                 44.66%                          9.67%


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Vanguard Target Retirement 2025 Trust I            43.33%                        9.42%

Morningstar Lifetime Mod 2025                      40.49%                        8.87%

S&P Target Date 2025                               38.60%                        8.50%

MSCI ACWI IMI                                      37.53%                        8.29%

       71.    Any prudent fiduciary would have used the indexes and Comparator Funds listed

in Table 4.a as benchmarks for the performance of the Northern Trust Focus 2025 Fund. Northern

Trust identifies MSCI ACWI IMI Index as a benchmark for the Northern Trust Focus 2025 Fund.

The Plan itself identifies the MSCI ACWI IMI as the benchmark index for the Northern Trust

Focus 2025 Fund. Furthermore, Morningstar assigns the Morningstar Lifetime Moderate 2025

Index as the primary investment benchmark for the Northern Trust Focus 2025 Fund. Morningstar

also places the Northern Trust Focus 2025 Fund in its Target Date 2025 Morningstar Category

along with the Comparator Funds managed by Fidelity (“FIAM”), T. Rowe Price and Vanguard.

       72.    Despite four-years of substantial underperformance, the Allstate Defendants did not

remove the Northern Trust Focus 2025 Fund from the Plan. Predictably, the underperformance

continued throughout the Class Period.

       73.    Table 4.b illustrates the underperformance of the Northern Trust Focus 2025 Fund

from January 1, 2015 through November 30, 2020 on an annualized basis relative to Comparator

Funds and benchmark indexes. Furthermore, the differences in annual performance are even

pronounced when compounded over time. Thus, as Table 4.b demonstrates, the Northern Trust

Focus 2025 Fund also significantly underperformed the benchmark indexes and Comparator Funds

on a cumulative basis.




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                                           Table 4.b

                            January 1, 2015 – November 30, 2020

                                                                                       Cumulative
                                           Annualized Performance                     Compounded
         Fund
                                                                                      Performance
                         2015       2016       2017     2018        2019     2020
   Northern Trust
   Focus 2025 Fund      -1.86%     6.31%      12.42%   -4.35%     16.86%    9.64%     44.02%
   W

   FIAM Blend
   Target Date 2025     -0.22%     7.83%      16.00%   -5.39%     20.50%   10.78%     57.64%
   S
   +/- Northern Trust   -1.64%    -1.52%      -3.58%   +1.04%     -3.64%    -1.14%    -13.62%

   T. Rowe Price Ret
   Hybrid 2025 Tr-      -0.52%     8.33%      17.60%   -5.52%     21.03%   11.21%     61.17%
   T1
   +/- Northern Trust   -1.34%    -2.02%      -5.18%   +1.17%     -4.17%    -1.57%    -17.15%

   Vanguard Target
   Retirement 2025      -0.70%     7.55%      16.02%   -5.06%     19.77%   10.05%     55.07%
   Trust 1
   +/- Northern Trust   -1.16%    -1.24%      -3.60%   +0.71%     -2.91%    -0.41%    -11.05%

   Morningstar
   Lifetime Mod         -2.06%     8.39%      14.54%   -4.90%     19.36%   10.56%     52.60%
   2025
   +/- Northern Trust   +0.20%    -2.08%      -2.12%   +0.55%     -2.50%    -0.92%    -8.58%

   S&P Target Date
                        -0.25%     7.82%      14.55%   -5.02%     18.38%    8.22%     49.90%
   2025
   +/- Northern Trust   -1.61%    -1.51%      -2.13%   +0.67%     -1.52%   +1.42%     -5.88%

   MSCI ACWI IMI        -2.19%     8.36%      23.95%   -10.08%    26.35%   10.75%     65.30%
                                                 -
   +/- Northern Trust
                        +0.33%    -2.05%      11.53%   +5.73%     -9.49%    -1.11%    -21.28%

       74.    Put in a broader context, according to Morningstar, as November 30, 2020, among

the funds within the Target Date 2025 Morningstar Category, the Northern Trust Focus 2025 Fund

performed worse than 81% of all funds over the preceding 10-year period, worse than 82% of all


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funds over the preceding 5-year period, and worse than 52% of all funds over the preceding 3-year

period. During those periods, there have been between 87 and 182 funds in the Target Date 2025

Morningstar Category.

       75.      During the Class Period in 2014, the assets of the Northern Trust Focus 2025 Fund

averaged approximately $110 million. Table 4.c shows the projected growth of $97 million

invested in the Northern Trust Focus 2025 Fund and each of the comparator funds from January

1, 2015 through November 30, 2020. As Table 4.c makes clear, Allstate’s failure to replace the

Northern Trust Focus 2025 Fund with one of the Comparator Funds at the end of 2014 resulted in

the Plan losing between $12.1 million and $18.8 million in retirement savings.

                                            Table 4.c
                              January 1, 2015 – November 30, 2020

  Fund Name                                 Compounded Annualized            Growth      of
                                            Performance Performance          $110 Million
  Northern Trust Focus 2025 Fund W          44.02%      6.36%                $158.4 million

  FIAM Target Blend 2025 S                  57.64%           8.00%           $173.4 million
  +/- Northern Trust                        -13.62%          -1.64%          -$15 million

  T. Rowe Price Ret Hybrid 2025 Tr-T1       61.17%           8.40%           $177.2 million
  +/- Northern Trust                        -17.15%          -2.04%          -$18.8 million

  Vanguard Target Retirement 2025
                                            55.07%           7.70%           $170.5 million
  Trust 1
  +/- Northern Trust                        -11.05%          -1.34%          -$12.1 million

             e. Northern Trust Focus 2030 Fund

       76.      The Northern Trust Focus 2030 Fund’s underperformance dates to its inception.

Table 5.a illustrates four-years of underperformance leading up to the Class Period, relative to

benchmark indexes and Comparator Funds.




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                                          Table 5.a

                             January 1, 2011- December 31, 2014

Investment                                  Cumulative Return %           Annualized Return %

NT Focus 2030 Fund - Tier W                        33.59%                        7.51%

FIAM Blend Target Date 2030 S                      42.06%                        9.17%

T. Rowe Price Ret Hybrid 2030 Tr-T1                47.55%                        10.21%

Vanguard Target Retirement 2030 Trust I            46.10%                        9.94%

Morningstar Lifetime Mod 2030                      43.66%                        9.48%

S&P Target Date 2030                               41.08%                        8.99%

MSCI ACWI IMI                                      37.53%                        8.29%

       77.    Any prudent fiduciary would have used the indexes and Comparator Funds listed

in Table 5.a as benchmarks for the performance of the Northern Trust Focus 2030 Fund. Northern

Trust identifies MSCI ACWI IMI Index as a benchmark for the Northern Trust Focus 2030 Fund.

The Plan identifies the MSCI ACWI IMI as the benchmark index for the Northern Trust Focus

2030 Fund. Furthermore, Morningstar assigns the Morningstar Lifetime Moderate 2030 Index as

the primary investment benchmark for the Northern Trust Focus 2030 Fund. Morningstar also

places the Northern Trust Focus 2030 Fund in its Target Date 2030 Morningstar Category along

with the Comparator Funds managed by Fidelity (“FIAM”), T. Rowe Price and Vanguard.

       78.    Despite four-years of substantial underperformance, the Allstate Defendants did not

remove the Northern Trust Focus 2030 Fund from the Plan. Predictably, the underperformance

continued throughout the Class Period.

       79.    Table 5.b illustrates the underperformance of the Northern Trust Focus 2030 Fund

from January 1, 2015 through November 30, 2020 on an annualized basis relative to Comparator




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Funds and benchmark indexes. Furthermore, the differences in annual performance are even

pronounced when compounded over time. Thus, as Table 5.b demonstrates, the Northern Trust

Focus 2030 Fund also significantly underperformed benchmark indexes and the Comparator Funds

on a cumulative basis.

                                          Table 5.b

                           January 1, 2015 – November 30, 2020

                                                                                     Cumulative
                                          Annualized Performance                    Compounded
         Fund
                                                                                    Performance
                         2015      2016       2017     2018        2019    2020

   Northern Trust
                         -2.09%    7.31%      15.67% -5.73%      19.40% 9.60%        49.93%
   Focus 2030 Fund W

   FIAM Blend Target
                         -0.45%    8.51%      18.79% -6.54%      23.10% 11.36%       64.39%
   Date 2030 S
   +/- Northern Trust    -1.64%    -1.20%     -3.12%   +0.81%    -3.70%   -1.76%     -14.46%

   T. Rowe Price Ret
                         -0.58%    8.75%      19.22% -6.15%      22.62% 11.85%       65.92%
   Hybrid 2030 Tr-T1
   +/- Northern Trust    -1.51%    -1.44%     -3.55%   +0.42%    -3.22%   -2.25%     -15.99%

   Vanguard Target
   Retirement 2030       -0.91%    7.93%      17.61% -5.77%      21.18% 10.41%       58.57%
   Trust 1
   +/- Northern Trust    -1.18%    -0.62%     -1.94%   +0.04%    -1.78%   -0.81%     -8.64%

   Morningstar
   Lifetime Mod 2030
                         -2.30%    9.26%      16.59% -5.82%      21.24% 10.14%       56.52%
   +/- Northern Trust    +0.21%    -1.95%     -0.92%   +0.09%    -1.84%   -0.54%     -6.59%

   S&P Target Date
                         -0.30%    8.35%      16.19% -5.99%      20.38% 8.41%        53.97%
   2030
   +/- Northern Trust    -1.79%    -1.04%     -0.52%   +0.26%    -0.98%   +1.19%     -4.04%

   MSCI ACWI IMI         -2.19%    8.36%      23.95% -10.08%     26.35% 10.75%       65.30%
   +/- Northern Trust    +0.10%    -1.05%     -8.28% +4.35%      -6.95% -1.15%       -15.37%



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       80.    Put in a broader context, according to Morningstar, as of November 30, 2020,

within the Target Date 2030 Morningstar Category, the Northern Trust Focus 2030 Fund

performed worse than 77% of all the fund over the preceding 10-year period, worse than 62% of

all funds over the preceding 5-year period, and worse than 56% of all funds over the preceding 3-

year period. During those periods, there have been between 89 and 192 funds in the Target Date

2030 Morningstar Category.

       81.    During the Class Period, the assets of the Northern Trust Focus 2030 Fund averaged

approximately $80 million. Table 5.c shows the projected growth of $80 million invested in the

Northern Trust Focus 2030 Fund and each of the Comparator Funds from January 1, 2015 through

November 30, 2020. As Table 5.c makes clear, Allstate’s failure to replace the Northern Trust

Focus 2030 Fund with one of the Comparator Funds at the end of 2014 resulted in the Plan losing

upwards between $6.9 and $12.8 million in retirement savings.

                                           Table 5.c
                             January 1, 2015 – November 30, 2020

  Fund Name                                Compounded Annualized            Growth      of
                                           Performance Performance          $80 Million
  Northern Trust Focus 2030 Fund W         49.93%      7.08%                $119.9 million

  FIAM Blend Target Date 2030 S            64.39%          8.76%            $131.5 million
  +/- Northern Trust                       -14.46%         -1.68%           -$11.6 million

  T. Rowe Price Ret Hybrid 2030 Tr-T1      65.92%          8.93%            $132.7 million
  +/- Northern Trust                       -15.99%         -1.85%           -$12.8 million

  Vanguard Target Retirement 2030
                                           58.57%          8.10%            $126.8 million
  Trust 1
  +/- Northern Trust                       -8.64%          -1.02%           -$6.9 million




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             f. Northern Trust Focus 2035 Fund
       82.      The Northern Trust Focus 2035 Fund’s underperformance dates to its inception.

Table 6.a illustrates four-years of underperformance leading up to the Class Period, relative to

benchmark indexes and Comparator Funds.

                                           Table 6.a
                              January 1, 2011- December 31, 2014

Investment                                  Cumulative Return %          Annualized Return %
NT Focus 2035 Fund - Tier W                        35.14%                        7.82%

FIAM Blend Target Date 2035 S                      44.95%                        9.72%

T. Rowe Price Ret Hybrid 2035 Tr-T1                49.43%                        10.56%

Vanguard Target Retirement 2035 Trust I            48.74%                        10.43%

Morningstar Lifetime Mod 2035                      45.56%                        9.84%

S&P Target Date 2035                               43.26%                        9.40%

MSCI ACWI IMI                                      37.53%                        8.29%

       83.       Any prudent fiduciary would have used the indexes and Comparator Funds listed

in Table 6.a as benchmarks for the performance of the Northern Trust Focus 2035 Fund. Northern

Trust identifies MSCI ACWI IMI Index as a benchmark for the Northern Trust Focus 2035 Fund.

The Plan identifies the MSCI ACWI IMI as the benchmark index for the Northern Trust Focus

2035 Fund. Furthermore, Morningstar assigns the Morningstar Lifetime Moderate 2035 Index as

the primary investment benchmark for the Northern Trust Focus 2035 Fund. Morningstar also

places the Northern Trust Focus 2035 Fund in its Target Date 2035 Morningstar Category along

with the Comparator Funds managed by Fidelity (“FIAM”), T. Rowe Price and Vanguard.




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       84.    Despite four-years of substantial underperformance, the Allstate Defendants did not

remove the Northern Trust Focus 2035 Fund from the Plan. Predictably, the underperformance

continued throughout the Class Period.

       85.    Table 6.b illustrates the underperformance of the Northern Trust Focus 2035 Fund

from January 1, 2015 through November 30, 2020 on an annualized basis relative to Comparator

Funds and benchmark indexes. Furthermore, the differences in annual performance are even

pronounced when compounded over time. Thus, as the Table 6.b demonstrates, the Northern Trust

Focus 2035 Fund also significantly underperformed the benchmark indexes and Comparator Funds

a cumulative basis.

                                            Table 6.b

                            January 1, 2015 – November 30, 2020
                                                                                          Cumulative
                                           Annualized Performance                        Compounded
         Fund
                                                                                         Performance
                          2015      2016        2017      2018        2019      2020
   Northern Trust
   Focus 2035 Fund      -2.50%     8.30%      18.95%     -7.43%     22.84%      8.48%    54.92%
   W

   FIAM Blend
   Target Date 2035     -0.52%     8.94%      20.86%     -7.83%     26.04%     12.10% 70.57%
   S
   +/- Northern Trust   -1.98%     -0.64%     -1.91%     -0.40%     -3.20%     -3.62%    -15.65%

   T. Rowe Price Ret
   Hybrid 2035 Tr-      -0.63%     9.01%      20.52%     -6.66%     23.97%     12.23% 69.52%
   T1
   +/- Northern Trust
                        -1.87%     -0.71%     -1.57%     +0.77%     -1.13%     -3.75%    -14.6%

   Vanguard Target
   Retirement 2035
   Trust 1              -1.09%     8.35%      19.22%     -6.52%     22.58%     10.75% 62.14%

   +/- Northern Trust
                        -1.41%     -0.05%     -0.27%    +0.91%      +0.26%     -2.27%    -7.22%


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   Morningstar
   Lifetime Mod         -2.58%     10.07%    18.52%      -6.82%     23.04%     9.30%     59.27%
   2035 TR
   +/- Northern Trust   +0.08%     -1.77%    +0.43%      +0.61%     -0.20%     -0.82%    -4.35%

   S&P Target Date
                        -0.35%     8.85%     17.78%      -6.88%     22.18%     8.73%     58.04%
   2035
   +/- Northern Trust   -2.15%     -0.55%     +1.17%     +0.55%     +0.66%     -0.25%    -3.12%

   MSCI ACWI IMI        -2.19%     8.36%     23.95%      -10.08%    26.35%     10.75%    65.30%
   +/- Northern Trust   -0.31%     -0.06%    -5.00%      -2.65%     -3.51%     -2.27%    -10.38%

       86.    Put in a broader context, according to Morningstar, as of November 30, 2020,

within the Target Date 2035 Morningstar Category, the Northern Trust Focus 2035 Fund

performed worse than 83% of all the fund over the preceding 10-year period, worse than 57% of

all funds over the preceding 5-year period, and worse than 70% of all funds over the preceding 3-

year period. During those periods, there have been between 84 and 179 funds in the Target Date

2035 Morningstar Category.

       87.    During the Class Period, the assets of the Northern Trust Focus 2035 Fund averaged

approximately $60 million. Table 6.c shows the projected growth of $45 million invested in the

Northern Trust Focus 2035 Fund and each of its Comparator Funds from January 1, 2015 through

November 30, 2020. As Table 6.c makes clear, Allstate’s failure to replace the Northern Trust

Focus 2035 Fund with one of the Comparator Funds at the end of 2014 resulted in the Plan losing

between approximately $4.3 million and $9.4 million in retirement savings.




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                                          Table 6.c

                             January 1, 2015 – November 30, 2020


  Fund Name                 Compounded         Annualized              Growth of $60
                            Performance        Performance             Million
  Northern Trust Focus
                            54.92%             7.68%                   $92.9 million
  2035 Fund W


  FIAM Blend Target
  Date 2035 S               70.57%             9.44%                   $102.3 million
  +/- Northern Trust        -15.65%            -1.76%                  -$9.4 million


  T. Rowe Price Ret
                            69.52%             9.33%                   $101.7 million
  Hybrid 2035 Tr-T1
  +/- Northern Trust        -14.60%            -1.65%                  -$8.8 million


  Vanguard Target
  Retirement 2035 Trust 1                      8.51%                   $97.2 million
                            62.14%
  +/- Northern Trust        -7.22%             -0.83%                  -$4.3 million


             g. Northern Trust Focus 2040 Fund

       88.      The Northern Trust Focus 2040 Fund’s abysmal underperformance dates to its

inception. Table 7.a illustrates four-years of underperformance leading up to the Class Period,

relative to benchmark indexes and Comparator Funds.

                                          Table 7.a
                             January 1, 2011- December 31, 2014


Investment                                 Cumulative Return %           Annualized Return %
NT Focus 2040 Fund - Tier W                        36.34%         `             8.06%




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FIAM Blend Target 2040 S                          45.31%                       9.79%

T. Rowe Price Ret Hybrid 2040 Tr-T1               50.71%                       10.80%

Vanguard Target Retirement 2040 Trust I           50.65%                       10.79%

Morningstar Lifetime Mod 2040                     45.96%                       9.91%

S&P Target Date 2040                              44.80%                       9.70%

MSCI ACWI IMI                                     37.53%                       8.29%

       89.    Any prudent fiduciary would have used the indexes and Comparator Funds listed

in Table 7.a as benchmarks for the performance of the Northern Trust Focus 2040 Fund. Northern

Trust identifies MSCI ACWI IMI Index as a benchmark for the Northern Trust Focus 2040 Fund.

The Plan itself identifies the MSCI ACWI IMI as the benchmark index for the Northern Trust

Focus 2040 Fund. Furthermore, Morningstar assigns the Morningstar Lifetime Moderate 2040

Index as the primary investment benchmark for the Northern Trust Focus 2040 Fund. Morningstar

also places the Northern Trust Focus 2040 Fund in its Target Date 2040 Morningstar Category

along with the Comparator Funds managed by Fidelity (“FIAM”), T. Rowe Price and Vanguard.

       90.    Despite three-years of substantial underperformance, the Allstate Defendants did

not remove the Northern Trust Focus 2040 Fund from the Plan. Predictably, the underperformance

continued throughout the Class Period.

       91.    Table 7.b illustrates the underperformance of the Northern Trust Focus 2040 Fund

from January 1, 2015 through November 30, 2020 on an annualized basis relative to Comparator

Funds and benchmark indexes. Furthermore, the differences in annual performance are even

pronounced when compounded over time. Thus, as Table 7.b. demonstrates, the Northern Trust




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Focus 2040 Fund also significantly underperformed the benchmark indexes and Comparator Funds

on a cumulative basis.

                                           Table 7.b

                             January 1, 2015 – November 30, 2020
                                                                                       Cumulative
                                           Annualized Performance                     Compounded
         Fund
                                                                                      Performance
                          2015      2016       2017      2018        2019    2020
   Northern Trust
   Focus 2040 Fund       -2.96%    8.59%      19.95%    -8.20%      23.87%   8.43%    55.86%
   W

   FIAM Blend
   Target Date 2040      -0.52%    8.99%      21.06%    -8.38%      27.02%   12.65% 72.07%
   S
   +/- Northern Trust    -2.44%    -0.40%     -1.11%   +0.18%       -3.15%   -4.22%   -16.21%

   T. Rowe Price Ret
   Hybrid 2040 Tr-       -0.57%    9.17%      21.49%    -7.06%      25.09%   12.67% 72.77%
   T1
   +/- Northern Trust    -2.39%    -0.58%     -1.54%    -1.14%      -1.22%   -4.24%   -16.91%

   Vanguard Target
   Retirement 2040       -1.44%    8.80%      20.82%    -7.27%      23.97%   11.00% 65.30%
   Trust 1
   +/- Northern Trust    -1.52%    -0.21%     -0.84%    -0.93%      -0.10%   -2.57%   -9.44%

   Morningstar
   Lifetime Mod          -2.83%    10.61%     19.87%    -7.65%      24.35%   8.56%    60.60%
   2040
   +/- Northern Trust    -0.13%    -2.02%     +0.08%    -0.55%      -0.48%   -0.13%   -4.74%

   S&P Target Date
   2040                  -0.40%    9.23%      18.87%    -7.41%     23.37%    8.91%    60.87%
   +/- Northern Trust    -2.56%    -0.64%     +1.08%    -0.79%     +0.50%    -0.48%   -5.01%

   MSCI ACWI IMI         -2.19%    8.36%      23.95%   -10.08%      26.35%   10.75% 65.30%
   +/- Northern Trust     -0.77%   +0.23%     -4.00%   +1.88%       -2.48%   -2.32% -9.44%




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       92.     Put in a broader context, according to Morningstar, as of November 30, 2020,

within the Target Date 2040 Morningstar Category, the Northern Trust Focus 2040 Fund

performed worse than 83% of all the fund over the preceding 10-year period, worse than 61% of

all funds over the preceding 5-year period, and worse than 70% of all funds over the preceding 3-

year period. During those periods, there have been between 89 and 192 funds in the Target Date

2040 Morningstar Category.

       93.     During the Class Period, the assets of the Northern Trust Focus 2040 Fund averaged

approximately $30 million. Table 7.c shows the projected growth of $30 million invested in the

Northern Trust Focus 2040 Fund and each of the Comparator Funds from January 1, 2015 through

November 30, 2020. As Table 7.c makes clear, Allstate’s failure to replace the Northern Trust

Focus 2040 Fund with one of the Comparator Funds at the end of 2014 resulted in the Plan losing

between $2.9 and $5.1 million in lost savings.

                                           Table 7.c

                             January 1, 2015 – November 30, 2020


  Fund Name                  Compounded           Annualized       Growth of $30 Million
                             Performance          Performance
  Northern Trust Focus
                             55.86%               7.79%            $46.7 million
  2040 Fund W

  FIAM Blend Target
                             72.07%               9.61%            $51.6 million
  Date 2040 S
  +/- Northern Trust         -16.21%              -1.82%           -$4.9 million

  T. Rowe Price Ret
                             72.77%               9.68%            $51.8 million
  Hybrid 2040 Tr-T1
  +/- Northern Trust         -16.91%              -1.89%           -$5.1 million

  Vanguard Target
                             65.30%               8.87%            $49.6 million
  Retirement 2040 Trust 1
  +/- Northern Trust         -9.44%               -1.08%           -$2.9 million




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             h. Northern Trust Focus 2045 Fund

       94.      The Northern Trust Focus 2045 Fund’s abysmal underperformance dates to its

inception. Table 8.a illustrates four-years of underperformance leading up to the Class Period,

relative to benchmark indexes and Comparator Funds.

                                          Table 8.a
                              January 1, 2011- December 31, 2014


Investment                                  Cumulative Return %          Annualized Return %
NT Focus 2045 Fund - Tier W                        36.41%                       8.07%

FIAM Blend Target Date 2045 S                      46.33%                       9.98%

T. Rowe Price Ret Hybrid 2045 Tr-T1                50.71%                       10.80%

Vanguard Target Retirement 2045 Trust I            50.73%                       10.80%

Morningstar Lifetime Mod 2045                      45.26%                       9.78%

S&P Target Date 2045                               45.99%                       9.92%

MSCI ACWI IMI                                      37.53%                       8.29%

       95.      Any prudent fiduciary would have used the indexes and Comparator Funds listed

in Table 8.a as benchmarks for the performance of the Northern Trust Focus 2045 Fund. Northern

Trust identifies MSCI ACWI IMI Index as a benchmark for the Northern Trust Focus 2045 Fund.

The Plan itself identifies the MSCI ACWI IMI as the benchmark index for the Northern Trust

Focus 2045 Fund. Furthermore, Morningstar assigns the Morningstar Lifetime Moderate 2045

Index as the primary investment benchmark for the Northern Trust Focus 2045 Fund. Morningstar




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also places the Northern Trust Focus 2045 Fund in its Target Date 2045 Morningstar Category

along with the Comparator Funds managed by Fidelity (“FIAM”), T. Rowe Price and Vanguard.

       96.    Despite four-years of substantial underperformance, the Allstate Defendants did not

remove the Northern Trust Focus 2045 Fund from the Plan. Predictably, the underperformance

continued throughout the Class Period.

       97.    Table 8.b illustrates the underperformance of the Northern Trust Focus 2045 Fund

from January 1, 2015 through November 30, 2020 on an annualized basis. Furthermore, the

differences in annual performance are even pronounced when compounded over time. Thus, as

Table 8.b demonstrates, the Northern Trust Focus 2045 Fund also significantly underperformed

the benchmark indexes and Comparator Funds on a cumulative basis.

                                            Table 8.b

                            January 1, 2015 – November 30, 2020
                                                                                           Cumulative
                                            Annualized Performance                        Compounded
         Fund
                                                                                          Performance
                          2015       2016       2017       2018       2019       2020
   Northern Trust
   Focus 2045 Fund      -2.95%      8.57%      19.79%     -8.13%     23.73%      8.49%    55.66%
   W

   FIAM Blend
   Target Date 2045     -0.60%      9.02%      21.03%     -8.34%     27.01%     12.64% 72.00%
   S
   +/- Northern Trust   -2.35%     -0.45%      -1.24%     +0.21%     -3.28%     -4.15%    -16.34%

   T. Rowe Price Ret
   Hybrid 2045 Tr-      -0.63%      9.24%      21.96%     -7.36%     25.79%     12.84% 74.09%
   T1
   +/- Northern Trust   -2.32%     -0.67%      -2.17%     -0.77%     -2.06%     -4.35%    -18.43%

   Vanguard Target
   Retirement 2045      -1.47%      8.94%      21.52%     -7.86%     25.10%     11.29% 67.33%
   Trust 1
   +/- Northern Trust   -1.48%     -0.37%      -1.73%     -0.27%     -1.37%     -2.80%    -11.67%



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   Morningstar
   Lifetime Mod          -3.03%     10.84%       20.53%   -8.17%      24.97%        8.12%    60.75%
   2045
                         +0.08%                                                     +0.37
   +/- Northern Trust               -2.27%       -0.74%   +0.04%      -1.24%                 -5.09%
                                                                                     %

   S&P Target Date
                         -0.46%       9.54%      19.56%   -7.74%      24.02%        8.98%    62.54%
   2045
   +/- Northern Trust    -2.49%     -0.97%       +0.23%   -0.39%      -0.29%        -0.49%   -6.88%

   MSCI ACWI IMI         -2.19%     8.36%        23.95%   -10.08%     26.35%    10.75% 65.30%
   +/- Northern Trust    -0.76%     +0.21%       -4.16%   +1.95%      -2.62%    -2.26% -9.64%

       98.    Put in a broader context, according to Morningstar, as of the November 30, 2020,

within the Target Date 2045 Morningstar Category, the Northern Trust Focus 2045 Fund

performed worse than 95% of all the fund over the preceding 10-year period, worse than 75% of

all funds over the preceding 5-year period, and worse than 76% of all funds over the preceding 3-

year period. During those periods, there have been between 83 and 179 funds in the Target Date

2045 Morningstar Category.

       99.    During the Class Period, the assets of the Northern Trust Focus 2045 Trust Fund

averaged approximately $30 million. Table 8.c shows the projected growth of $30 million invested

in the Northern Trust Focus 2045 Fund and each of the comparator funds from January 1, 2015

through November 30, 2020. As Table 8.c makes clear, Allstate’s failure to replace the Northern

Trust Focus 2045 Fund with one of the Comparator Funds in 2014 resulted in the Plan losing

between approximately $3.5 million and $5.5 million in retirement savings.

                                              Table 8.c

                             January 1, 2015 – November 30, 2020

  Fund Name                  Compounded           Annualized        Growth of $30 Million
                             Performance          Performance
  Northern Trust Focus
                             55.66%               7.77%             $46.7 million
  2045 Fund W



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  FIAM Blend Target
                            72.00%             9.60%              $51.6 million
  Date 2045 S
  +/- Northern Trust        -16.34%            -1.83%             -$4.9 million

  T. Rowe Price Ret
                            74.09%             9.82%              $52.2 million
  Hybrid 2045 Tr-T1
  +/- Northern Trust        -18.43%            -2.05%             -$5.5 million

  Vanguard Target
                            67.33%             9.09%              $50.2 million
  Retirement 2045 Trust 1
  +/- Northern Trust        -11.67%            -1.32%             -$3.5 million


             i. Northern Trust Focus 2050 Fund

       100.     The Northern Trust Focus 2050 Fund’s abysmal underperformance dates to its

inception. Table 9.a illustrates four-years of underperformance leading up to the Class Period,

relative to benchmark indexes and Comparator Funds.

                                          Table 9.a
                             January 1, 2011- December 31, 2014


Investment                                 Cumulative Return %           Annualized Return %
NT Focus 2050 Fund - Tier W                        36.44%                         8.08%

FIAM Blend Target Date 2050 S                      45.90%                         9.90%

T. Rowe Price Ret Hybrid 2050 Tr-T1                50.71%                         10.80%

Vanguard Target Retirement 2050 Trust I            50.88%                         10.83%

Morningstar Lifetime Mod 2050                      44.34%                         9.61%

S&P Target Date 2050                               N/A*                           N/A*

MSCI ACWI IMI                                      37.53%                         8.29%

*Not yet created in January 2011


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          101.    Any prudent fiduciary would have used the indexes and Comparator Funds listed

  in Table 9.a as benchmarks for the performance of the Northern Trust Focus 2050 Fund. The Plan

  identifies MSCI ACWI IMI Index as a benchmark for the Northern Trust Focus 2050 Fund.

  Furthermore, Morningstar assigns the Morningstar Lifetime Moderate 2050 Index as the primary

  investment benchmark for the Northern Trust Focus 2050 Fund. Morningstar also places the

  Northern Trust Focus 2050 Fund in its Target Date 2050 Morningstar Category along with the

  Comparator Funds managed by Fidelity (“FIAM”), T. Rowe Price and Vanguard.

          102.    Despite four-years of substantial underperformance, the Allstate Defendants did not

  remove the Northern Trust Focus 2050 Fund from the Plan. Predictably, the underperformance

  continued throughout the Class Period.

          103.    Table 9.b illustrates the underperformance of the Northern Trust Focus 2050 Trust

  from January 1, 2015 through November 30, 2020 on an annualized basis relative to Comparator

  Funds and benchmark indexes. Furthermore, the differences in annual performance are even

  pronounced when compounded over time. Thus, as Table 9.b demonstrates, the Northern Trust

  Focus 2050 Trust also significantly underperformed the benchmark indexes and Comparator Funds

  on a cumulative basis.

                                              Table 9.b

                                                                                          Cumulative
                                          Annualized Performance                         Compounded
      Fund
                                                                                         Performance
                       2015       2016        2017        2018      2019        2020
Northern Trust
Focus 2050 Fund       -2.96%      8.55%      19.61%     -8.03%     23.59%      8.43%     55.27%
W

FIAM Blend
Target Date 2050      -0.60%      9.01%      21.06%     -8.41%     27.06%     12.61%     71.90%
S
+/- Northern Trust    -2.36%     -0.46%      -1.45%    +0.38%      -3.47%     -4.18%     -16.63%


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T. Rowe Price Ret
Hybrid 2050 Tr-      -0.63%     9.29%      21.91%     -7.35%     25.79%     12.82%     74.07%
T1
+/- Northern Trust   -2.33%     -0.74%     -2.30%     -0.68%     -2.20%      -4.39%    -18.80%

Vanguard Target
Retirement 2050      -1.53%     8.96%      21.48%     -7.82%     25.07%     11.42%     67.44%
Trust 1
+/- Northern Trust   -1.43%     -0.41%     -1.87%     -0.21%     -1.48%      -2.99%    -12.17%

Morningstar
Lifetime Mod         -3.19%     10.89%     20.78%     -8.41%     25.09%      7.94%     60.34%
2050
+/- Northern Trust                                                                     -5.07%
                     +0.23%     -2.34%     -1.17%     +0.38%     -1.50%     +0.49%

S&P Target Date
                     -0.47%     9.74%      20.18%     -7.94%     24.35%      9.05%     63.87%
2050
+/- Northern Trust   -2.49%     -1.19%     -0.57%     -0.09%     -0.76%      -0.62%    -8.60%

MSCI ACWI IMI
                     -2.19%     8.36%      23.95%     -10.08%    26.35%     10.75%     65.30%
+/- Northern Trust   -0.77%     +0.19%     -4.34%     +2.05%     -2.76%      -2.32%    -10.03%

                               January 1, 2015 – November 30, 2020

          104.   Put in a broader context, according to Morningstar, as of November 30, 2020,

  within the Target Date 2050 Morningstar Category, the Northern Trust Focus 2050 Fund

  performed worse than 90% of all the fund over the preceding 10-year period, worse than 77% of

  all funds over the preceding 5-year period, and worse than 73% of all funds over the preceding 3-

  year period. During those periods, there have been between 79 and 192 funds in the Target Date

  2050 Morningstar Category.

          105.   During the Class Period, the assets of the Northern Trust Focus 2050 Fund averaged

  approximately $25 million. Table 9.c shows the projected growth of $25 million invested in the

  Northern Trust Focus 2050 Fund and each of the comparator funds from January 1, 2015 through

  November 30, 2020. As Table 9.c makes clear, Allstate’s failure to replace the Northern Trust


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Focus 2050 Fund with one of the Comparator Funds in 2014 resulted in the Plan losing between

approximately $3 million and $4.7 million in retirement savings.

                                           Table 9.c

                             January 1, 2015 – November 30, 2020

  Fund Name                 Compounded          Annualized         Growth of $25 Million
                            Performance         Performance
  Northern Trust Focus
                            55.27%              7.72%              $38.8 million
  2050 Fund W

  FIAM Blend Target
                            71.90%              9.59%              $42.9 million
  Date 2050 S
  +/- Northern Trust        -16.63%             -1.87%             -$4.1 million

  T. Rowe Price Ret
                            74.07%              9.82%              $43.5 million
  Hybrid 2050 Tr-T1
  +/- Northern Trust        -18.80%             -2.10%             -$4.7 million

  Vanguard Target
                            67.44%              9.10%              $41.8 million
  Retirement 2050 Trust 1
  +/- Northern Trust        -12.17%             -1.38%             -$3.0 million


              i. Northern Trust Focus 2055 Fund

       106.    The Northern Trust Focus 2055 Fund’s abysmal underperformance dates to its

inception. Table 10.a illustrates four-years of underperformance leading up to the Class Period,

relative to a benchmark index and Comparator Funds.

                                          Table 10.a

                             January 1, 2011- December 31, 2014


Investment                                  Cumulative Return %           Annualized Return %
NT Focus 2055 Fund - Tier W                        36.53%                          8.09%

FIAM Blend Target Date 2055 S                      N/A*                            N/A*

T. Rowe Price Ret Hybrid 2055 Tr-T1                50.57%                          10.77%


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Vanguard Target Retirement 2055 Trust I            50.96%                        10.84%

Morningstar Lifetime Mod 2055                      43.25%                        9.40%

S&P Target Date 2055                               N/A*                          N/A*

MSCI ACWI IMI                                      37.53%                        8.29%

*Not yet created in January 2011

       107.   Any prudent fiduciary would have used the indexes and Comparator Funds listed

in Table 10.a as benchmarks for the performance of the Northern Trust Focus 2050 Fund. The

Plan identifies MSCI ACWI IMI Index as a benchmark for the Northern Trust Focus 2055 Fund.

Furthermore, Morningstar assigns the Morningstar Lifetime Moderate 2055 Index as the primary

investment benchmark for the Northern Trust Focus 2055 Fund. Morningstar also places the

Northern Trust Focus 2055 Fund in its Target Date 2055 Morningstar Category along with the

Comparator Funds managed by Fidelity (“FIAM”), T. Rowe Price and Vanguard.

       108.   Despite four-years of substantial underperformance, the Allstate Defendants did not

remove the Northern Trust Focus 2055 Fund from the Plan. Predictably, the underperformance

continued throughout the Class Period.

       109.   Table 10.b illustrates the underperformance of the Northern Trust Focus 2055 Fund

from January 1, 2015 through November 30, 2020 on an annualized basis relative to Comparator

Funds and benchmark indexes. Furthermore, the differences in annual performance are even

pronounced when compounded over time. As Table 10.b demonstrates, the Northern Trust Focus

2055 Fund also significantly underperformed the benchmark indexes and Comparator Funds on a

cumulative basis.




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                                          Table 10.b

                           January 1, 2015 – November 30, 2020

                                                                                     Cumulative
                                          Annualized Performance                     Compounded
         Fund
                                                                                     Performance
                         2015      2016       2017      2018       2019     2020
  Northern Trust
  Focus 2055 Fund      -2.92%    8.53%       19.42%    -7.97%    23.44%   8.52%      55.11%

  FIAM Blend
  Target Date 2055     -0.64%    9.04%       21.09%    -8.38%    27.03%   12.63%     71.98%
  S
  +/- Northern Trust   -2.28%    -0.51%      -1.67%    +0.41%    -3.59%   -4.11%     -16.87%

  T. Rowe Price Ret
  Hybrid 2055 Tr-      -0.63%    9.26%       21.94%    -7.33%    25.78%   12.82%     74.10%
  T1
  +/- Northern Trust   -2.29%    -0.73%      -2.52%    -0.64%    -2.34%   -4.30%     -18.99%

  Vanguard Target
  Retirement 2055      -1.63%    8.98%       21.48%    -7.83%    25.09%   11.41%     67.29%
  Trust 1
  +/- Northern Trust   -1.29%    -0.46%      -2.06%    -0.14%    -1.65%   -2.89%     -12.18%

  Morningstar
  Lifetime Mod         -3.34%    10.90%      20.95%    -8.57%    25.05%   7.87%      59.91%
  2055
  +/- Northern Trust   +0.42%    -2.37%      -1.53%    +0.60%    -1.61%   +0.65%     -4.80%

  S&P Target Date
                       -0.54%    9.94%       20.48%    -7.97%    24.48%   8.99%      64.48%
  2055
  +/- Northern Trust   -2.38%    -1.41%      -1.06%    0.00%     -1.04%   -0.47%     -9.37%

  MSCI ACWI IMI
                       -2.19%    8.36%       23.95%    -10.08%   26.35%   10.75%     65.30%
  +/- Northern Trust   -0.73%    +0.17%      -4.53%    +2.11%    -2.91%   -2.23%     -10.19%

       110.   Put in a broader context, according to Morningstar, as of November 30, 2020,

within the Target Date 2055 Morningstar Category, the Northern Trust Focus 2055 Fund

performed worse than 100% of all the funds over the preceding 10-year period, worse than 81%




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of all funds over the preceding 5-year period, and worse than 76% of all funds over the preceding

3-year period. During those periods, there have been between 40 and 179 funds in the Target Date

2055 Morningstar Category.

       111.   During the Class Period, the assets of the Northern Trust Focus 2055 Fund averaged

approximately $25 million. Table 10.c shows the projected growth of $20 million invested in the

Northern Trust Focus 2055 Fund and each of the Comparator Funds from January 1, 2015 through

November 30, 2020. As Table 10.c makes clear, Allstate’s failure to replace the Northern Trust

Focus 2055 Fund with one of the Comparator Funds in 2014 resulted in the Plan losing between

approximately $3.1 million and $4.8 million in retirement savings.

                                           Table 10.c

                             January 1, 2015 – November 30, 2020

  Fund Name                  Compounded         Annualized           Growth of $25 Million
                             Performance        Performance
  Northern Trust Focus
                             55.11%             7.70%                $38.7 million
  2055 Trust W

  FIAM Target Blend
                             71.98%             9.60%                $43.0 million
  2055 S
  +/- Northern Trust         -16.87%            -1.90%               -$4.3 million

  T. Rowe Price Ret
                             74.10%             9.82%                $43.5 million
  Hybrid 2055 Tr-T1
  +/- Northern Trust         -18.99%            -2.12%               -$4.8 million

  Vanguard Target
                             67.29%             9.09%                $41.8 million
  Retirement 2055 Trust 1
  +/- Northern Trust         -12.18%            -1.39%               -$3.1 million

           j. Allstate Allowed Financial Engines and AFA to Charge Unreasonable Fees to
              Participants

       112.    Throughout the Class Period, Allstate has allowed Financial Engines and Alight

Financial Advisors (AFA) to offer investment advisory services to plan participants through two



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mechanisms. First, through the “Professional Management” program, where Financial Engines,

and later AFA, charge an asset-based fee to assume discretionary authority over a Plan

participant’s account to make investment decisions. Second, through the “Online Advice”

program, where Financial Engines, and later AFA, charge a flat fee of an undisclosed amount to

all participants for the ability to access advice regarding investment recommendations.

                   a. Allstate Allowed Financial Engines and AFA to Charge Unreasonable
                      Investment Advisory Fees to Participants for the Professional
                      Management Program

       113.    From the beginning of the Class Period through sometime in 2017, Financial

Engines offered investment advisory services directly to plan participants who opted into the

Financial Engines Professional Management program. In 2017, Allstate replaced Financial

Engines with AFA to provide investment advisory services to the Plan. AFA then hired Financial

Engines to provide it with sub-advisory services.

       114.    According to AFA’s Form ADV Part 26, AFA relies exclusively on the proprietary

software, systems, and methodology developed and maintained by Financial Engines to provide

investment advisory and related management services. Accordingly, the switch from Financial

Engines to AFA was a cosmetic change that did nothing to alter the investment processes or

methodology used to provide the Plan and its participants with investment advice.

       115.    Financial Engines is registered with the Securities and Exchange Commission

(”SEC”) as an investment adviser. In SEC filings, Financial Engines has told the public that unlike




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  Form ADV is the uniform form used by investment advisers to register with both the SEC and
state securities authorities. The form consists of two parts which contain information about an
investment adviser and its business operations. Part 2 is the primary disclosure document for
investment advisers and must be delivered to advisory clients. Form ADV contains information
about an investment adviser and its business operation.



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traditional advisory services, their advisory services do not rely on the subjective evaluation of

each plan participant’s portfolio by a human.7 In the investment advisory industry, Financial

Engines is referred to as a “robo adviser,” which means that a robot uses mathematical formulas

to pick an investment portfolio for the investor.

       116.     Financial Engines’ portfolios are not custom-made for each participant in the

Allstate Plan. Instead, Financial Engines uses largely standardized portfolios, each carrying a

different combination of investment strategy and risk. Financial Engines places each participant

into one of these cookie-cutter portfolios based on the participant’s age, self-reported investment

strategy, and self-reported risk tolerance. Once the participant engages Financial Engines, the

participant loses the ability to direct his or her retirement strategy—only Financial Engines can

make changes to the participant’s portfolio. Typically, there is no human interaction with the

participant.

       117.     Financial Engines operates in a highly competitive industry. In SEC filings,

Financial Engines has identified a number of firms and products with whom Financial Engines

competes for plan participants’ business. The firms identified include Morningstar, ProManage,

GuidedChoice, Fidelity, Vanguard, Charles Schwab & Co., and Merrill Lynch. Financial Engines

also identifies competition from substitute investment products, most notably target-date

retirement funds offered by Vanguard and T. Rowe Price.8




7
   Financial Engines, Inc. Annual Report on Form 10K, p.6 (December 31, 2017)
https://www.sec.gov/Archives/edgar/data/1430592/000156459018002889/fngn-
10k_20171231.htm
8
  Id, p. 12


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          118.   Financial Engines and AFA made millions of dollars each year in investment

advisory fees. According to Allstate’s Form 5500s, plan participants paid Financial Engines and

AFA the following total annual investment advisory fees from 2015 through 2019:

            Year       Total Investment Advisory Fee to Financial Engines
            2015       $1,265,509
            2016       $1,514,150
            2017       $1,790,503
            2018       $2,218,477
            2019       $2,667,972


          119.     Throughout Financial Engines’ tenure, Allstate allowed Financial Engines to

charge unreasonable investment advisory fees. Following Financial Engines replacement by AFA,

Allstate has allowed AFA to charge unreasonable investment advisory fees.

          120.     AFA charges participants based on a tiered fee structure, with the highest fees

impacting those with the least retirement savings. AFA’s current fee schedule is:

                          Annual Fee          Portion of Account Balance
                            0.45%             First $100,000
                            0.30%             Next $100,000 to $250,000
                            0.25%             Amounts above $250,000

          121.   Upon information and belief, Financial Engines charged participants even higher

fees.

          122.     Financial Engines and AFA have done almost nothing to earn these fees. Since

Financial Engine simply offers a robo-advisory service with largely standardized portfolios, its

costs are minimal. AFA’s costs are also minimal since it merely contracts with Financial Engines

to provide “sub-advisory” services to Plan participants.

          123.     Moreover, Financial Engines’ and AFA’s costs are fixed per participant. The size

of the participant’s account (whether its $1,000, $100,000, or $1,000,000) does not alter Financial

Engines’ or AFA’s internal costs. But Financial Engines and AFA do not charge a flat fee per


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participant. Rather, they charge each participant an asset-based fee, meaning the fee is based on a

percentage of the participant’s total 401(k) account value. As a result, the more money a participant

invests, the more money Financial Engines and AFA make, even though no additional services

have been rendered. Since Financial Engines’ and AFA’s costs are not affected by the size of

participants’ accounts, Financial Engines’ and AFA’s asset-based fees have no reasonable relation

to the services rendered and results in participants overpaying for investment advisory services.

       124.    Further, Financial Engines’ and AFA’s fees are excessive compared to similar,

substitute investment products available on the market. Financial Engines (and AFA, by hiring

Financial Engines as a “sub-advisor”) essentially perform services no more complicated than a

standard target date fund, which allocates assets among equity securities (e.g., stocks), fixed

income securities (e.g., bonds), and cash based on a person’s age and expected retirement date.

The fees for target date funds typically range from 0.07% for a target date fund managed by

Vanguard to 0.10% for a target date fund managed by Fidelity to 0.12% for a target date fund

managed by BlackRock. Thus, participants are paying Financial Engines and AFA a fee that is

between 300% and 600% more than they would for the comparable services of target date funds.

Accordingly, Allstate offered participants investment advisory services (first Financial Engines,

and then AFA) that were both expensive and redundant.

       125.     Financial Engines and AFA also fare poorly when compared to a wide array of

other comparable investment options. For example, various investment advisers offer “global

portfolios” that construct investment strategies with similar asset allocations to the portfolios

Financial Engines builds for Allstate Plan participants for a significantly lower fee. For instance,

Wilshire Associates, an investment adviser with $70 billion in assets under management, offers




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asset allocation, life cycle and target retirement date investment programs. However, Wilshire’s

investment advisory fee ranges from 0.5% to 0.25%.

       126.      Financial Engines also charges more than non-robotic investment advisory

services. Pacific Investment Management Company, LLC (PIMCO), one of the country’s largest

investment management firms, hires Research Affiliates to make recommendations about the

allocation of mutual fund assets within PIMCO’s All Assets Fund and All Asset Authority Fund.

Much like Financial Engines, the PIMCO Research Affiliates make their recommendations by

selecting investments from a defined universe of available funds. PIMCO pays Research Affiliates

about .15% of assets under management – significantly less than the asset-based fees that Financial

Engines and AFA charge Plan participants.

       127.    Financial Engines and AFA even charge more than other robo-advisors. For

instance, ProManage, charges 0.10% to retirement plans with assets exceeding $100 million.

Vanguard’s Personal Advisor Services charges 0.30% for robo-advisory services. Another robo-

advisor competitor, GuidedChoice, charges retirement plans 0.25% for building participants’

portfolios and managing them over time. Charles Schwab’s Intelligent Advisory hybrid service

charges 0.28%.

                   b. Allstate Allowed Financial Engines and AFA to Charge Unreasonable
                      Fees to Participants for the Online Advice Program

       128.    Throughout the Class Period, Allstate has included an “Online Advice” program on

the Plan. From the beginning of the Class Period through some time in 2017, Financial Engines

provided these Online Advice investment advisory services. Beginning in 2017, when Allstate

replaced Financial Engines, AFA provided the Online Advice service to the Plan.

       129.    Participants do not opt-into the Online Advice program. Instead, Plan participants

have the option to access the Online Advice feature to see the investment advice and



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recommendations from Financial Engines, and later AFA, has provided. To utilize the advice and

recommendations provided through Online Advice, the Participant must first navigate through the

Plan portal, and then it is up to the Participant to review the information and determine whether

and when to implement all or some portion of the recommendations.

       130.    While Allstate bills this service as one for which there is no additional charge in its

messaging to participants, in reality all Plan participants are charged fees and expenses for this

online investment advisory service as part of the Plan’s “administrative expenses,” regardless of

whether the participant actually uses the Online Advice investment advisory feature.

                   c. By Retaining Financial Engines and AFA, Allstate Introduced an
                      Unnecessary Layer of Fees

       131.     Although participants paid an investment advisory fee for the Professional

Management and Online Advice services offered by Financial Engines (and now, to AFA), each

of the funds on the Plan has been managed by a separate investment adviser that charges its own

investment advisory fees (e.g., State Street Global Advisors, Invesco). That means Plan

participants had to pay Financial Engines’ (now AFA’s) advisory fees in addition to the advisory

fees that participants paid indirectly to other investment advisers that manage the funds in the Plan

(e.g., State Street Global Advisors and Invesco). These layered advisory services drove up (and

continue to drive up) participants’ total fees.

       132.     Adding insult to injury, Financial Engines passed through a significant portion of

its investment advisory fees to the Plan’s recordkeeper Alight Solutions, LLC (formerly Hewitt

Associates). Financial Engines passed through between 25% to 35% of the Professional

Management fees, and 25% of the Online Advice fees to the Plan’s recordkeeper, amounting to a

kickback of hundreds-of-thousands of dollars each year.




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        133.    This kickback was not paid in exchange for any additional investment advisory

services to Plan participants and thereby unreasonably increased the Plan participants’ investment

advisory fees. Instead, on information and belief, these fees were passed through from Financial

Engines to the Plan’s recordkeeper in exchange for Hewitt’s agreement to feature Financial

Engines exclusively, and not promote or offer the services of other investment advisory service

providers to its clients, such as Allstate. The result of this pay-to-play arrangement was the

financial enrichment of the Plan’s recordkeeper at the expense of Plan participants.

        134.    Allstate left this inefficient and imprudent fee structure largely intact when it

replaced Financial Engines with AFA in 2017. Notably, AFA, the entity that began providing the

same investment advisory services in 2017, is the wholly owned subsidiary of the Plan’s

recordkeeper, Alight Solutions. Although now formally the Plan’s “investment adviser,” AFA

merely subcontracts with Financial Engines to perform the actual investment advisory work.

                    d. Allstate Failed to Monitor              Financial    Engines’     and    AFA’s
                       Compensation and Services

        135.    As a fiduciary to the Plan, Allstate was required to monitor the activities of

Financial Engines and later AFA. As part of this duty to monitor investment advisers, the Allstate

Defendants at a minimum are expected to monitor the quality of the services offered, the

reasonableness of the fees charged for the service, the utilization of the investment advice services

by the participants in relation to the cost of the services to the plan, as well as participant comments

and complaints about the quality of the furnished advice. However, at no time did anyone from

Allstate survey participants to determine whether Financial Engines’ robotic investment advisory

services and minimal trading activity were in Plan participants’ best interest relative to the overall

fees being charged.




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       136.     Allstate also allowed Financial Engines and AFA to charge fees that were out of

line with comparable investment advisory services. Financial Engines and AFA charge

participants significantly more than other robo-advisors. They also charge more than target date

funds despite providing participants with substantially similar services. A prudent fiduciary would

have investigated and provided participant these cheaper alternatives or negotiated with Financial

Engines for lower fees.

       137.     Accordingly, from the beginning of the Class Period through the date of Financial

Engines replacement, Allstate failed to monitor properly Financial Engines’ compensation in light

of the limited services that Financial Engines provided. Following Financial Engines’ replacement,

Allstate failed to monitor properly AFA’s compensation in light of the limited services AFA

provided. Allstate thus caused the participants to pay unreasonable advisory fees, resulting in

millions of dollars of damages each year.

       138.     Moreover, Allstate imprudently developed a plan with too many layers of fees,

resulting in unreasonable total fees for investment advisory, recordkeeping, and administrative

services combined. For participants who signed up for Financial Engines (and later, for AFA), the

total fees were so high as to make it extremely difficult to break even on their investments.

                   e. Allstate’s Breaches of Fiduciary Duty Will Have a Profound and
                      Lasting Effect on Participants’ Retirement Accounts

       139.    In defined contribution plans, such as Allstate’s Plan, fees paid by the plan

participant negatively impact the total return on the participant’s investments. Retirement savings

in defined-contribution plans grow and compound over the course of a participant’s career,

meaning excessive fees can drastically reduce the total amount available to a participant at the time

of retirement. Due to the power of compounding over time, what appear to be minor differences




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in fee amounts yield dramatically different outcomes in the funds available to the participant at the

time of retirement.

       140.    The Department of Labor (“DOL”) illustrates this phenomenon:

       Assume that you are an employee with 35 years until retirement and a current 401(k)
       account balance of $25,000. If returns on investments in your account over the next 35
       years average 7 percent and fees and expenses reduce your average returns by 0.5 percent,
       your account balance will grow to $227,000 at retirement, even if there are no further
       contributions to your account. If fees and expenses are 1.5 percent, however, your account
       balance will grow to only $163,000. The 1 percent difference in fees and expenses would
       reduce your account balance at retirement by 28 percent.

       141.     According to a February 15, 2014 report by The Atlantic, a mere 1.25% difference

in fees can reduce a participant’s returns by more than six figures over the course of that

participant’s career.9 The study notes the different results not just from money lost paying a higher

fee, but also from money that will never be invested because it went to fees instead.10

       142.     Given the potential impact fees have on plan returns, the DOL has issued guidance

to plan fiduciaries clarifying the fiduciary duty of prudence as it relates to fees.

       Plan fees and expenses are important consideration for all types of retirement plans.
       As a plan fiduciary, you have an obligation under ERISA to prudently select and
       monitor plan investments, investment options made available to the plan’s
       participants and beneficiaries, and the persons providing services to your plan.
       Understanding and evaluating plan fees and expenses associated with plan
       investments, investment options, and services are an important part of a fiduciary’s
       responsibility. This responsibility is ongoing. After careful evaluation during the
       initial selection, you will want to monitor plan fees and expenses to determine
       whether they continue to be reasonable in light of the services provided.11




9
   Crushingly Expensive Mistake Killing Your Retirement, The Atlantic (Feb. 15, 2014),
https://www.theatlantic.com/business/archive/2014/02/thecrushinglyexpensive-mistake-killing-
your-retirement/283866
10
   Id.
11
   Understanding Retirement Plan Fees and Expenses, U.S. Dep’t of Labor Employee Benefits
Security Admin. (Dec. 2011), https://www.dol.gov/sites/default/files/ebsa/about-ebsa/our-
activities/resource-center/publications/understanding-retirement-plan-fees-and-expenses.pdf.


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         143.    As a result of Allstate’s imprudent and disloyal selection and retention of Financial

Engines and AFA, plan participants have suffered dramatic losses to their retirement accounts.

Unless remedied, these losses will compound over time, adding new injuries on top of those

already suffered.

VII.      CLASS ACTION ALLEGATIONS

         144.    29 U.S.C. §1132(a)(2) authorizes any participant or beneficiary of the Plan to bring

an action individually on behalf of the Plan to enforce a breaching fiduciary’s liability to the plan

under 29 U.S.C. §1109(a).

         145.    In acting in this representative capacity and to enhance the due process protections

of unnamed participants and beneficiaries of the Plan, as an alternative to direct individual actions

on behalf of the Plan under 29 U.S.C. §1132(a)(2) and (3), Plaintiff seeks to certify this action as

a class action on behalf of all participants and beneficiaries of the Plan. Specifically, Plaintiff seeks

to certify, and to be appointed as representatives of, the following classes:

            a.   Northern Trust Class: All participants and beneficiaries of the Plan from January

                 4, 2015 through the date of judgment, excluding the Defendants, who were invested

                 in the Northern Trust Focus Funds.

            b. Investment Advisory Class: All participants and beneficiaries of the Plan,

                 excluding the Defendants, who paid fees for Financial Engines’ or AFA’s for

                 investment advisory services at any time from January 4, 2015 through the date of

                 judgment.

         146.    This action meets the requirements of Rule 23 and is certifiable as a class action for

the following reasons:

            a. The Class includes tens-of-thousands of members and is so large that joinder of all

                 its members is impracticable.


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           b. There are questions of law and fact common to this Class because the Allstate

               Defendants owed fiduciary duties to the Plan and to all participants and

               beneficiaries and took the actions and omissions alleged herein as to the Plan and

               not as to any individual participant. Thus, questions of law and fact common to the

               Classes include, inter alia, the following: (1) who are the fiduciaries liable for the

               remedies provided by 29 U.S.C. §1109(a); (2) whether the fiduciaries of the Plan

               breached their fiduciary duties to the Plan by employing an imprudent process for

               monitoring and evaluating Plan investment options; (3) whether the Plaintiff’s

               claims of an imprudent process require similar inquiries and proof of the claims and

               therefore implicate the same set of concerns for all proposed members of the Class;

               (4) what are the losses to the Plan resulting from each breach of fiduciary duty; and,

               (5) what Plan-wide equitable and other relief the court should impose in light of the

               Allstate Defendants’ breach of duty.

           c. Plaintiff’s claims are typical of the claims of the Class because each Plaintiff was a

               participant during the time period at issue in this action and all participants in the

               Plan were harmed by the Allstate Defendants’ misconduct.

           d. Plaintiff is an adequate representative of the Class because she was a participant in

               the Plan during the Class Period, has no interest that conflicts with the Class, is

               committed to the vigorous representation of the Class, and has engaged experienced

               and competent attorneys to represent the Class.

       147.    Prosecution of separate actions for these breaches of fiduciary duties by individual

participants and beneficiaries would create the risk of inconsistent or varying adjudications that

would establish incompatible standards of conduct for the Allstate Defendants in respect to the




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discharge of their fiduciary duties to the Plan and personal liability to the Plan under 29 U.S.C. §

1109(a). Moreover, adjudications by individual participants and beneficiaries regarding the alleged

breaches of fiduciary duties, and remedies for the Plan would, as a practical matter, be dispositive

of the interests of the participants and beneficiaries not parties to the adjudication or would

substantially impair or impede those participants’ and beneficiaries’ ability to protect their

interests. Therefore, this action should be certified as a class action under Rule 23(b)(1)(A) or (B).

        148.    Additionally, or in the alternative, certification under Rule 23(b)(2) is appropriate

because the Allstate Defendants have acted or refused to act on grounds that apply generally to the

class, so that final injunctive relief or corresponding declaratory relief is appropriate respecting the

class as a whole. Plaintiff seeks reformation of the Plan to make it a more viable retirement

investment option, which will benefit them and other Plan participants.

        149.    Additionally, or in the alternative, this action may be certified as a class under Rule

23(b)(3). A class action is the superior method for the fair and efficient adjudication of this

controversy because joinder of all participants and beneficiaries is impracticable, the losses

suffered by individual participants and beneficiaries may be small and it is impracticable for

individual members to enforce their rights through individual actions, and the common questions

of law and fact predominate over individual questions. Given the nature of the allegations, no class

member has an interest in individually controlling the prosecution of this matter, and Plaintiff is

aware of no difficulties likely to be encountered in the management of this matter as a class action.

        150.    Additionally, or alternatively, this action may be certified as to particular issues

under Rule 23(c)(4)—including but not limited to the Allstate Defendants’ liability to the class for

their allegedly imprudent conduct.




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       151.    Plaintiff’s counsel, Sanford Heisler Sharp, LLP will fairly and adequately represent

the interests of the Class and is best able to represent the interests of the Class under Rule 23(g).

VIII. CAUSES OF ACTION

                                             COUNT I

 Breach of Duty of Prudence by Failing to Remove Imprudent Investments from the Plan
                               During the Class Period

                             (Violation of ERISA, 29 U.S.C. § 1104)
                                (Against All Allstate Defendants)

       152.    The allegations set forth in the Complaint are realleged and incorporated herein by

reference.

       153.    Allstate used the Plan as a strategic and financial benefit to recruit and retain

workers.

       154.    In joining Allstate and subsequently enrolling in the Plan, employees trusted and

relied on Allstate’s resources and expertise to construct and maintain a state-of-the-art 401(k) plan.

       155.    At all relevant times during the Class Period, the Allstate Defendants acted as

fiduciaries within the meaning of 29 U.S.C. § 1002(21)(A) by exercising authority and control

with respect to the management of the Plan and its assets.

       156.    29 U.S.C. § 1104(a)(1)(B) requires a plan fiduciary to act with the “care, skill,

prudence and diligence under the circumstances then prevailing that a prudent man acting in a like

capacity and familiar with such matters would use in the conduct of an enterprise of a like character

and with like aims.”

       157.    Thus, the scope of the fiduciary duties and responsibilities of the Allstate

Defendants includes administering the Plan with the care, skill, diligence, and prudence required

by ERISA. Allstate Defendants are responsible for evaluating and monitoring the Plan’s




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investments on an ongoing basis, eliminating imprudent investments, and taking all necessary

steps to ensure the Plan’s assets are invested prudently.

        158.    The Allstate Defendants had an imprudent process for investigating, evaluating and

monitoring investments. The faulty process resulted in a plan loaded with target date funds—the

Northern Trust Funds—that have exhibited chronic poor performance for almost a decade. Allstate

Defendants failed to remove the Northern Trust Funds despite their historical underperformance

relative to other target date collective investment trusts and relevant benchmark indexes.

        159.    By failing to adequately consider better-performing investment products for the

Plan, the Allstate Defendants failed to discharge their duties with the care, skill, prudence, and

diligence that a prudent fiduciary acting in a like capacity and familiar with such matters would

use in the conduct of an enterprise of like character and with like aims.

        160.    Allstate’s breach of fiduciary duty has substantially impaired the Plan’s use, its

value, and its investment performance for Plan participants.

        161.    As a direct and proximate result of the Allstate Defendants’ breaches of fiduciary

duty, the Plan and each of its participants who invested in the Funds have suffered millions of

dollars of damages and lost-opportunity costs which continue to accrue and for which the Allstate

Defendants are jointly and severally liable pursuant to 29 U.S.C. §§ 1132(a)(2), 1132(a)(3), and

1109(a).

        162.    Each of the Allstate Defendants is liable to make good to the Plan the losses

resulting from the aforementioned breaches, to restore to the Plan any profits resulting from the

breaches of fiduciary duties alleged in this Count and are subject to other equitable or remedial

relief as appropriate.




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       163.    Each Allstate Defendant also participated in the breach of the other Allstate

Defendants, knowing that such acts were a breach, enabled the other Allstate Defendants to commit

a breach by failing to lawfully discharge its own fiduciary duties, and knew of the breach by the

other Allstate Defendants yet failed to make any reasonable effort under the circumstances to

remedy the breach. Thus, each Allstate Defendant is liable for the losses caused by the breach of

its co-fiduciary under 29 U.S.C. § 1105(a).

                                               COUNT II

       Breach of Duties of Prudence by Retaining Financial Engines and AFA to Provide
                    Investment Advisory Services to Plan Participants
                               (Violation of ERISA, 29 U.S.C. § 1104)
                                      (Against All Defendants)
       164.    The allegations set forth in the Complaint are realleged and incorporated herein by

reference.

       165.    Defendants failed to engage in a prudent process for retaining an investment adviser

to construct asset allocation portfolios for participants.

       166.    Allstate retained Financial Engines and AFA to construct investment portfolios for

participants even though cheaper asset allocation investment options (e.g., target date funds or

other investment advisers) provide substantially similar services for a reduced price. Allstate knew

or should have known that retention of Financial Engines and AFA would result in participants

paying duplicative and much higher investment advisory fees, thereby resulting in added expense

and significant underperformance for participants. Allstate’s retention of Financial Engines and

AFA caused the participants to pay significantly excessive investment advisory fees and suffer

poor relative performance.

       167.    In failing to adequately consider cheaper investment advisory services for

participants, Allstate Defendants failed to discharge their duties with the care, skill, prudence, and


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diligence under the circumstances then prevailing that a prudent person acting in a like capacity

and familiar with such matters would use in the conduct of an enterprise of like character and with

like aims.

       168.    Allstate Defendants allowed Financial Engines and AFA to receive asset-based

investment advisory fees but failed to monitor those payments and the services provided to ensure

that Financial Engines and AFA received only reasonable compensation for the investment

advisory services provided to the participants. As the amount of assets grew, the investment

advisory fees paid to Financial Engines and AFA grew, even though the services provided by

Financial Engines and AFA remained the same. This caused the investment advisory compensation

paid to Financial Engines and AFA to exceed a reasonable fee for the services provided.

       169.    Allstate Defendants also allowed Financial Engines and AFA to receive investment

advisory fees from all participants for the Online Advice program without regard for whether the

participant ever actually utilized the service. In failing to consider the utilization of the online

investment advice services in relation to the per-participant cost for such services, Allstate

Defendants failed to discharge their duties with the care, skill, prudence, and diligence under the

circumstances then prevailing that a prudent person acting in a like capacity and familiar with such

matters would use in the conduct of an enterprise of like character and with like aims.

       170.    By failing to monitor the services provided by Financial Engines and AFA to ensure

that the fees Financial Engines and AFA received were reasonable relative to services provided,

Allstate Defendants’ breached their duty of prudence.

       171.    As a direct and proximate result of these breaches of fiduciary duties, the Plan and

each of its participants have suffered millions of dollars of damages which continue to accrue and




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for which Allstate Defendants are jointly and severally liable pursuant to 29 U.S.C. §§ 1132(a)(2),

1132(a)(3), and 1109(a).

          172.   Each Allstate Defendant is personally liable under 29 U.S.C. §1109(a) to make

good to the Plan any losses to the Plan resulting from the breaches of fiduciary duties alleged in

this Count and is subject to other equitable or remedial relief as appropriate.

          173.   Each Defendant participated in the breach of the other Defendants, knowing that

such acts were a breach, enabled the other Defendants to commit a breach by failing to lawfully

discharge its own fiduciary duties, knew of the breach by the other Defendants and failed to make

any reasonable effort under the circumstances to remedy the breach. Thus, each Defendant is liable

for the losses caused by the breach of its co-fiduciary under 29 U.S.C. §1105(a).

                                             COUNT III
                                      Prohibited Transactions
                                   (Violation of 29 U.S.C. § 1106)
                                      (Against All Defendants)
          174.   Plaintiff restates and incorporates the allegations contained in the Complaint.

          175.   Allstate Defendant’s hiring of Financial Engines and AFA, and the payment of

unreasonable fees to Financial Engines and AFA, constitute prohibited transaction under 29 U.S.C.

§ 1106.

          176.   By causing the Plan to deliver Plan assets to Financial Engines and AFA,

Defendants caused the Plan to engage in transactions that they knew or should have known

constituted exchanges of property between the Plan and a party in interest in violation of 29 U.S.C.

§ 1106(a)(1)(A).

          177.   By causing the Plan to use Financial Engines and AFA to provide services to the

Plan and its participants and by causing the Plan to pay Plan assets to Financial Engines and AFA,

Defendants caused the Plan to engage in transactions they knew or should have known constituted


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the furnishing of services between the Plan and a party in interest in violation of 29 U.S.C. §

1106(a)(1)(C).

       178.      By causing the Plan to deliver Plan assets to Financial Engines and AFA,

Defendants caused the Plan to engage in transactions that they knew or should have known

constituted a transfer of Plan assets to a party in interest in violation of 29 U.S.C. § 1106(a)(1)(D).

       179.      The compensation arrangement between Financial Engines and the Plan’s

recordkeeper amounted to a transaction dealing with the assets of the Plan in the interest of the

Plan’s recordkeeper, a fiduciary to the Plan, in violation of 29 U.S.C. § 1106(b)(1). This

arrangement further amounted to a transaction involving the assets of the Plan whereby the Plan’s

recordkeeper received consideration for its own personal account from a party dealing with the

Plan in violation of 29 U.S.C. § 1106(b)(3).

       180.      By causing the Plan to engage in transactions that Defendants knew or should have

known would result in the transfer of Plan assets from Financial Engines to the Plan’s

recordkeeper, a party in interest, Defendants acted in violation of 29 U.S.C. § 1106(a)(1)(D).

Further, Defendants had knowledge of this transaction pursuant to the disclosure requirements of

ERISA Section 408(b)(2), yet Defendants made no reasonable efforts to remedy the breach.

Accordingly, Defendants are liable for the breach of the fiduciary responsibility of its

recordkeeper, another fiduciary with respect to the Plan, pursuant to 29 U.S.C. § 1105(a)(3).

       181.      As a direct result of these prohibited transactions, Defendants caused the Plan to

suffer loses in the reduction of Plan assets and the lost investment returns on those assets.

                                            COUNT IV

                                        Failure to Monitor

                                 (Against All Allstate Defendants)




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       182.     Plaintiff restates and incorporate the allegations contained in the Complaint.

       183.     The Allstate Defendants had a duty to monitor the performance of each individual

to whom they delegated any fiduciary responsibilities.

       184.     A monitoring fiduciary must ensure that the monitored fiduciaries are performing

their fiduciary obligations, including those with respect to the investment and holding of plan

assets, and must take prompt and effective action to protect the plan and participants when they

are not.

       185.     To the extent any of the Allstate Defendant’s fiduciary responsibilities were

delegated to another fiduciary, the Allstate Defendant’s monitoring duty included an obligation to

ensure that any delegated tasks were being performed prudently and loyally.

       186.     The Allstate Defendants breached their fiduciary monitoring duties by, among

other things:

           a. failing to monitor their appointees, to evaluate their performance, or to have a

                system in place for doing so, and standing idly by as the Plan suffered enormous

                losses as a result of their appointees’ imprudent actions and omissions with respect

                to the Plan;

           b. failing to monitor their appointees’ fiduciary process, which would have alerted any

                prudent fiduciary to the potential breach because of the imprudent investment

                options in violation of ERISA;

           c. failing to ensure that the monitored fiduciaries had a prudent process in place for

                evaluating and ensuring that the Funds were prudent; and




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           d. failing to remove appointees whose performance was inadequate in that they

               continued to allow imprudent investment options to remain in the Plan to the

               detriment of Plan participants’ retirement savings.

       187.    Each fiduciary who delegated its fiduciary responsibilities likewise breached its

fiduciary monitoring duty by, among other things:

           a. failing to monitor its appointees, to evaluate their performance, or to have a system

               in place for doing so, and standing idly by as the Plan suffered enormous losses as

               a result of its appointees’ imprudent actions and omissions with respect to the Plan;

           b. failing to monitor its appointees’ fiduciary process, which would have alerted any

               prudent fiduciary to the potential breach because of the imprudent investment

               options in violation of ERISA;

           c. failing to implement a process to ensure that the appointees monitored the

               performance of Plan investments; and

           d. failing to remove appointees whose performance was inadequate in that they

               continued to allow imprudent investment options to remain in the Plan, all to the

               detriment of Plan participants’ retirement savings.

       188.    As a direct result of these breaches of the fiduciary duty to monitor, the Plan

suffered substantial losses. Had Allstate and the other delegating fiduciaries prudently discharged

their fiduciary monitoring duties, the Plan would not have suffered these losses.

                                       PRAYER FOR RELIEF

       For these reasons, Plaintiff, on behalf of the Plan and all similarly situated Plan participants

and beneficiaries, respectfully requests that the Court:




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  i)    find and adjudge that the Allstate Defendants have breached their fiduciary duties, as

        described in the Complaint above;

  ii)   find and adjudge that the Allstate Defendants are personally liable to make good to

        the Plan $70,000,000 in losses resulting from each breach of fiduciary duty, and to

        otherwise restore the Plan to the position it would have occupied but for the breaches

        of fiduciary duty;

  iii) find and adjudge that the Allstate Defendants are liable to the Plan for appropriate

        equitable relief, including but not limited to restitution and disgorgement;

  iv)   determine the method by which Plan losses under 29 U.S.C. § 1109(a) should be

        calculated;

  v)    order the Allstate Defendants to provide all accountings necessary to determine the

        amounts Defendants must make good to the Plan under 29 U.S.C.§ 1109(a);

  vi) remove the fiduciaries who have breached their fiduciary duties and enjoin them from

        future ERISA violations;

  vii) surcharge against the Allstate Defendants and in favor of the Plan all amounts

        involved in any transactions which such accounting reveals were improper, excessive,

        and/or in violation of ERISA;

  viii) reform the Plan to include only prudent investments;

  ix) certify the Class, appoint the Plaintiff as a class representative, and appoint Sanford

        Heisler Sharp LLP as Class Counsel;

  x)    award to the Plaintiff and the Class their attorney’s fees and costs under 29 U.S.C. §

        1132(g)(1) and the common fund doctrine; order the payment of interest to the extent

        it is allowed by law; and




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      xi) grant other equitable or remedial relief as the Court deems appropriate.

Dated: January 4, 2021
                                           Respectfully Submitted,

                                           By: /s/ Erich P. Schork

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